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                                   SSG Melo, Julian
                                   SSG Lynn Pouli




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                         AR 15-6 INVESTIGATION OF
                         FOB MAREZ DFAC BOMBIN
                                MOSUL, IRAQ




                                   B                   orm1ca
                                                    g Officer




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                                                 I. (U) Background
             .(S.) I was appointed by LTG Thomas F. Metz, Commander, Multi-National
        Corps-Iraq (MNC-I) on 23 December 2004 to investigate the facts and


                                                                                            0
        circumstances surrounding the 21 December attack on the dining facility (DFAC)
        at forward operating base (FOB) Marez, located in Mosul, lraq. 1 (Annex A) I was
        directed to identify the limitations of any force protection measures, policies, or
        procedures at FOB Marez, to include: 1) the adequacy of force protection
        measures at high density facilities ; 2) entry control point screening and
        searching ; and 3) hiring proced.ures, background checks, and badging    ?8   1
                                                                                           g
        and procedures for third country nationals (TCN) and contractors. I w
        directed to make recommendations regarding my findings.

              ~ I began the investigation from the premise that this
        bombing from within the DFAC - not an indirect fire attack.       ~
                                                                           ~q•~      as
        validated by the preliminary site assessment investigatel i              y's Criminal
        Investigation Division (CID) and Combined Explo •             it   n Cell (CEXC).
        In conducting our investigation I considered thr    ro       s ilities :

                   o The bomber was not authorized ac~ s to         base. He gained access
                   by violating the perimeter or an entry ntrol point.

                   o The bomber was authori~ ~                    e base as a local nation (LN) or
                   TCN employee or a vendor/ t~

                   • The bomber was au         ·zed ac ess to the base by virtue of his position
                   in one of the Iraqi Se rity     rces (ISF) operating on the base: Iraqi
                   Regular Army (IR          •     ional Guard (ING), Facilities Protective
                   Service (FPS).

       However he gain ........ _\ ~s to the base , it appears likely that he accessed the
       DFAC by we" ,i Security Force uniform. (Annex D-3)

          ~) W~ " " ' • reviewed base physical security, access and badging
       procl      nd Iraqi Security Force control to identify potential problems that
       the mb       ht have exploited to gain access. As a starting point, we looked
                command and control structure and its organization to manage and
               force protection measures.

              This investigation focuses on several force protection areas that may or
           y ot have been the proximate cause of the attack on the Marez DFAC. While
          annot say with certainty how the perpetrator gained access to FOB Marez, the

       1
         I assembled a team to assist in the
       Coordination Cel
                            {b (3), (b 6)
         (b )(3), (b )(6)
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         areas covered in this report were contributing factors, either separately or in
         combination, which set the conditions that allowed the perpetrator both access to
         FOB Marez and DFAC.

             fG) There are ongoing investigations by CID and continuing operations by
         MNC-I units to determine the identity of the bomber. These may provide some
         insight into how he specifically gained access to the base. The results of their
         preliminary reports are considered in this report. (Annex 0-4)

                                            II. (U) Facts

             (U) On Tuesday, 21 December 2004, at approximately 1204, an e
         occurred at the dining facility (DFAC) at FOB Marez, in Mosu Ir
         of the explosion, the dining facility was serving the lunchtim
         facility. The explosion killed 22 people and injured appro •           nine
         others. Those killed by the explosion included 13 US S             US Sailor,
         four US civilians, three Iraqi Regular Army soldier             i National Guard
         soldier. (Annexes 0-3, 0-4)

           f8) Initially, the suspected cause of the ex            as an indirect fire attack,
        possibly by one or more 122mm rockets.            exes -3, 0-4) The Marez DFAC
        had previously been the target of nume              ect fire attacks. (Annexes C-83,
        G-4, G-5) The suspected cause                        quickly changed, however,
        upon close inspection of the seen                ical factors present, and of the
        testimony of numerous witn                      ho were there knew immediately
        that it was not a rocket or m              (Annexes C-103, 0-4)

             (S) Soldiers from th               osive Ordnance Disposal (EOD) detachment
        arrived shortly after th             , examined the site, and advised that the
        explosion was not t               an indirect fire attack. (Annexes 0-4, D-5)
        Numerous ball                   d at the scene were inconsistent with a rocket or
        mortar explos·             x D-3) The effect of the blast at the "seat of the
        explosion" w           shallow, and inconsistent with a rocket or mortar. The blast
        effect, h               consistent with an improvised explosive device (IED).
        (Anne               EOD further opined that the hole in the dining facility ceiling
                        with an internal blast rather than a high explosive projectile.
                     Medical personnel also indicated that the nature of the injuries of
                    or wounded was not indicative of injuries normally seen as a result of
                   . (Annex C-103)

            ) On 22 December 2004, the Combined Explosives Exploitation Cell
        (CEXC) arrived on the scene. CEXC conducted a forensic sweep. (Annex D-3)

           (S) CEXC confirmed that the bombing was not caused by indirect fire. No
       ordnance components were recovered from the scene such as stabilizing fins,
       the rocket motor, or the fusing system. The seat of the explosion, the blast, and

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          the fragmentation pattern were not consistent with an event involving a rocket or
          mortar. Specific analy~is of the seat of the explosion and the fragmentation
          pattern indicated that the explosion did not take place directly on the ground.
          The majority of the fragmentation was directed towards the cafeteria serving line
          area. (Annex D-3)

             (.S) CEXC found numerous items at the scene consistent with an IED devi
         They found components of a 9V DC battery that appeared to have been in
         contact with detonated high explosive material. This battery type is corn
         used to power IEDs. (Annex D-3) They found a small piece of copper
         a blasting cap section, 243 metal-coated ball bearings, a small sprin
         LED consistent those recovered by CEXC in other IED circuits. (
         N-1, N-2)

                  In addition to the bodies




                                    b (6                            he scene have been
         forwarded to Armed Forces Institute of                  AFIP for anal sis. It is
         anticipated that a DNA match of                                (b)(6)
                           (b)(6)                            -1, D-2, D-3, 0-4)

             t8J There were many un       frag,~ints found in the DFAC. (Annex N-2)
         The fragments were from t          late-chip uniform normally worn by ING and
         IRA They were small a               n the inside indicating that they were part of
         the uniform worn by th          ornber. It is anticipated that DNA extracted from
         the uniform sample           te that belief. No blood was found on the
         uniform's charre          f material. This indicates that the material was in
         close proximi          explosive event. (Annexes C-34, C-57, D-3, N-3, N-1)

                               of the chocolate chip uniform was recovered with the label
                            e label contained English text. The recovered label matches
                         n uniforms issued and worn by the 11 th IRA Battalion (BN) soldiers.


                    tions of reinforced canvas material were found in key areas of the
               co-located with the blast pattern. CEXC noted that the stitching on the
              s was made by a machine, but appeared to be erratic. The material was
        consistent with material they have seen in suicide vests. (Annex 0-3)

             (U) Five days after the explosion, on Sunday, 26 December 2004, the
        terrorist group, Ansar AI-Sunnah, released a video purportedly showing the
        attack on the Marez DFAC from outside the facility. The video showed a fireball

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          rising from a white tent and subsequently the accompanying sound of the
          explosion. The final image is apparently shot from a video camera while driving
          past the base showing the dining facility with a hole in the ceiling. In a separate
         terrorist video clip released with the dining facility attack video, a black-garbed
         gunman identifying himself as "Abu Omar al-Mosuli." wearing an explosive
         device around his body, was shown saying good-bye to his comrades. The video
         has a time signature of 20 December 2004, the day before the attack. Three
         gunmen are shown sitting in front of a banner displaying the name of the gro
         wearing black masks and holding rifles. One of them is wearing what app
         be a suicide belt. The gunman in the center reads a statement describi
         the attack will be carried out. He says, "one of the lions from our ma
         seeking brothers will infiltrate the defenses of the enemy at Marez ba
         He will slip through a hole in the camp's wire, exploiting the cha
         guard. We have been observing their schedule for a long t1
         proceed to his target, and he will take advantage of luncht
         hall is crowded with crusaders and their Iraqi allies. The
         carried out." (Annex 0-1)

            (S) 1-24 Infantry Battalion (Stryker) conducte             ence assessment of
        the video. Based on the terrain in the video and ti       elay in the sound of the
        explosion on the video, analysts determine       e build gs in Mosul from which
        the Ansar AI-Sunnah video was likely m             27 December, they conducted a
        raid of the location and detained •                 Is and located a camera. As of
        the date of this report, they contin            the detainees and evidence seized
        in the raid. (Annex G-6)

            (S) Given what I found                 y investigation, the terrorist group's
        declaration of responsibi •                  od of access was plausible.

                                                                  (b)(3), (b)(6)
         (bl(3), (b)(6) exa                  dies of the three IRA soldiers killed in the blast. He
        determined th                   re of their wounds eliminated the possibility that any of
        them was th                r. Their bodies were submitted by CID request to AFIP for
                                   ults are pending. (Annex D-1)

                           soldier that was killed was not in a position to have been the
                      ber. The nature of his wounds was inconsistent with being the
                     ID released his body to his family. (Annex D-2)

                      On 7 January 2005,I                         (b)(3), (b)( 5l          1133rd EN
            , nducted an analysis and provided an opinion on the body parts found at
       the scene of the bombing. Two legs were found at the scene that appeared to
       match and possibly belong to the same person. The legs and feet did not appear
       to come from any of the bodies of the identified deceased or injured at the scene.
        '                         , surmised that they most likely belonged to the suicide bomber.
     .______________............_. ypothesized that the legs belonged to a person between 160-170

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         pounds, between 5'6" and 5'7" in height, and between the ages of 23 and 27.
         (Annex D-2)

           ~ Also found at the scene were two large sections of scalp with singed long
        black hair, the scalp of which would account for approximately half a cranium.
        He found that none of the bodies at the scene had hair that length or enough
        scalp missing to account for this scalp. (b)(3), (b)(e) surmised the scalp section
        belonged to the bomber. The complete.....,,..,"""""=-..--yses are not included in
        report. They will be incorporated into the CID investigative report Prelimi
        DNA Results provided by AFIP tol (b)(3), (b)(B) !do corroborate his asse
        (Annex 0-2)

             ~ He indicated that he believed the bomber was sittin
        blast with his feet tucked up under the chair with heels upw
        was slightly bent in a praying position at the time of the bl
        the bomber's head was completely detached and blown i
        result of the blast. The scalp portions with singed        I
        fireball area. (Annex D-2)
                                                                    th
            (S) Two anecdotal reports from soldiers fr mt              IRA battalion indicate
        that they saw what they described as an Ir          IRA uniform, without helmet and
       body armor, entering the DFAC with thr                ldiers. {Annex D-4) They
       noticed him because the absence                       nd body armor made him stand
       out from the other IRA soldiers. A                 wn and Root {KBR) service
       worker said that she saw thr ING s              in the line just before the blast.
       (Annex C-53) A US soldier           urvive the attack reported to me that his
       buddy who was killed by the            oticed an Iraqi in uniform. He commented
       that there must be a new                  SOP, indicating that he saw something
       different. Unfortunate!            rviving soldier looked up to see, the blast
       occurred. (Annexes              0)

           -{S) I find it            than not that the bomber entered the DFAC by wearing
       an IRA unifo             possible that he entered the DFAC just after 1200, perhaps
       in the mi               ree unidentified ING soldiers.

                            Ill. (U) Comment on Operational Context

                      is Iraq's second largest city. It's predominantly Sunni, but is a key
                Ic component of the Kurdish dominated region. Governance, economy,
               cial conditions were progressing ahead of much of the country.

       o (S) Conditions in the northern region had progressed to the point that it was
       determined by the Commander, CJTF-7,.!Q be gn acce[).table risk to reduce the
       siAe ofJhS?. Q.Q£ution pr~?_t3)1Qe frnrn aJJS.. Qiyision to a smaller Task Force built
       ~round a ~~!}'~~! Brigad~ Combat Team (SBCT).


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               0  (U) Task Force Olympia (TFO), commanded by BG Carter Ham, assumed
               responsibifity for MN 8-NW upon Transfer of Authority (TOA) with the 101 st
               Airborne Division (Air Assault) in February 2004. The SBCT provided TFO its
               principal combat capability.

               0 (C) It was anticipated that conditions would continue to improve in the Mosul
               area and that ISF would assume a greater role in security of the area.

               (S) As conditions warranted, the SBCT provided combat capability fort
               0

           Corps Operational Reserve for short-term requirements in other areas
           On short notice in August, a battalion from the SBCT was deployed
           It conducted combat operations in Al Kut. They were relocated to
           the Operational Reserve.

           o (S) The threat situation in Mosul had worsened. It bee
           the Corps Reserve Stryker battalion from Baghdad to M

           0  (S) In the fall of 2004, coincident with Corps                  allujah, the AIF in
           Mosul posed an increased threat. Zarqawi aper             an former regime
           elements operated out of Mosul. Attacks a ·nst I          civilians, government
           officials, and ISF rose dramatically, as did      cks against coalition forces. The
           AIF launched a substantive intimidatio

           • (S) During Ramadan in October            ber of 2004, the AIF threat and
           intimidation campaign caus many      I workers to discontinue their
           employment on Coalition F       F an FPS experienced rising AWOL rates;
           much of the contract work        was disrupted.

           o (S) Over a period of                 ths, beginning in November and as of 21
           December, there we                    ad bodies found in Mosul: 165 unidentified, 36
           ISF, 5 Kurds, an               s. They were the victims of execution-style murders that
           were part of                    idation campaign. (Annex G-9)

                                  , the Corps sent reinforcement Coalition forces and ISF to
                            security, regain the initiative, and reduce force protection risks.

                                             IV. (U) Major Findings


               A suicide bomber carried out the 21 December 2004 bombing of the
        Marez DFAC. The bomber's identity and how he obtained access to the base is
        not yet determined; he entered the DFAC wearing an IRA unifQrm. (Annexes D-3,
        N-1)

       2
           On 18 October 2004. 1-23 IN was relieved in place by 1-5 IN.

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          2. fS) There are three broad possibilities of how he obtained access to the base:

                  0   Not authorized access (violated the perimeter)
                  o   Authorized access (badged civilian employee/vendor)
                  o   Authorized access (member of an Iraqi Security Force)

         3. (S) FOB Marez is a large base and difficult to secure. It had essential force r > •
         protection systems in place, however, there were seams in execution thatpjj).._V
         be exploited .                                                         ~J
         4. (U) Base Command and Control                                       ~
         • (S) The 248th RAOC (WAARNG) was assigned as the
         element for FOB Marez. They assumed their duties in lae;
                                                                e
                                                                   co:/llfll       control
                                                                                r 2004. In
         late November, their duties expanded to include LSA Di               . (Annexes
         C-46, F-2)

         • fS) This was an- appropriate mission for a RA    ut 1 18 person staff was
         not sufficient to meet the numerous missior;/quire  nts. (Annex C-46)


                                           ~v
         • (G) The disciplined execution of bas~ ~s requires emphasis by all of the
         tenant units on FOB Marez.

        • (S) The command and co ol rela          ship of the RAOC with the tenant units
        wasn 't clearly defined. The      ad no asking authority and acted primarily as a
        coordinating HQ . The RAO de          ded on units to assume ownership of
        assigned areas of r e s ~ ·          the force protection (FP) status of base
        common areas. It reli             for tasking authority, even for routine
        requirements. (~,nn\ ~     - , C-13 , C-31 , C-43, C-44, C-45, C-47, C-46, C-48,
        C-56, C-89, C-9~

        • (S) Te~    e        ere fully engaged conducting combat operations in Mosul
        and exe in        • ion essential tasks on FOB Marez. Vigorous prosecution of
        off~ n •      rations was the single most important contribution the units made to
        pr     e t5 e orce protection . (Annexes C-13, C-47, C-48 , C-56)

                   tenant units focused their attention outside the wire on combat
              tions. It was on these operations that they concentrated their troop to task
              ements. But they invested approximately 369 soldiers a day for force
          otection at FOB Marez. (Annexes C-13, C-48, C-56, M-7)

        • (G) Most units built battalion FOBs within FOB Marez to ensure battalion force
        protection. They also tended to defer responsibility for FOB Marez force
        protection tasks to the RAOC . (Annexes C-9, C-13, C-48, C-62 , C-89)

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          0
             fS) Intelligence available to MNB-NW, 1st SBCT, 25th ID, the RAOC, and the
          tenant units did not warn of a suicide bomber threat to FOB Marez or the DFAC.
          The threat focus for that area prior to the bombing was on suicide VBIEDs and
          indirect fire. (Annexes C-15, C-83, G1-G5, G-7)

          5. (U} Physical Security

          o(&) The base is secured by a chain link fence. That fence is reinforced b
         berms and/or concertina wire around 60% of the perimeter. The fence lin
         not augmented with passive measures. (Annexes C-98, C-99, D-7)

         0 (&) The command had identified areas that required improvem
         MILCON force protection related projects had been submi
         FY05. (Annexes M-5, M-6)

         • ~) There were five breaches in the fence line of                   Supply Point
         (ASP) in the southern part of FOB Marez on 28                     nex N-4)

         • (&) Guard towers overlooking the perimeter w           nned by US Soldiers and
         FPS. Disciplined execution of tower guard   ty nee       to be emphasized.
         (Annexes C-89, C-9)

         • (&) The method used to bring i                 onto FOB Marez is not known. It is
         possible that it could have been c              ate undetected, tossed over the
         perimeter fencing, or walke     rough       reaches in the fencing in the ASP area.

        • (&) The internal Quick R           orce (QRF) conducted occasional roving
        patrols. (Annexes C-1

        • (&) Access to the            AC was not strictly controlled. MilLtary headcounts
        were not alwa s            Based on a given threat assessment, added force
        protection               e implemented. This was most recently done in October
        and Nov             , during Ramadan. There were no additional force
        protecti           s in place on 21 December 04. (Annexes L-2, C-2, C-26, C-
        43,

                 nt Staff Integrated Vulnerability Assessment (JSIVA) of FOB Marez
                  ted in July 2004. The previous base command headquarters
             ped a corrective action plan and initiated corrective actions for several
            . Some of the corrective actions had not been fully implemented by
        December. (Annexes M-5, D-6)

        • 248th RAOC staff did not have Level Two AT training. (Annex C-98)

        • {S) The suicide bomber could have obtained access to the base through
        the perimeter.
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            6. (U) Security Screening and Badging

           0
              ES) FOB Marez requires badges to obtain access. There was a system in
           place to issue and control badges. The FOB Marez SOP dated 26 August 2004
           was thorough. Execution of duties associated with the badge processes and
           procedures was not always adequate. (Annexes E-2, E-8, C-69, C-70)
                                                                                               r>
                                                                                               V
                                                                                                 •
           0 (S) TFO Badge and Access SOP dated October 2004, was not yet
           implemented at the time of the bombing . (Annexes C-69, C-70 , C-861},.:,
                                                                                           g
           o   (S) There was a disproportionate share of green (no esc~ e ~-
           Enforcement of the badging SOP was inconsistently applied.   x C-16, C-
           31 , C-69 , C-70, H-7)                                       r>._..._
        • (S) Some units did not positively hand off resp          I   ty~         ged employees -
        during RIP/TOA. (Annexes C-48, C-69, C-70)

        0 (S) The security screening process for loc
                                                   i             mp ed personnel (LEPs) was
        immature. Screeners on the base had limit             access to a common database.
        (Annexes C-1 , C-6, C-19, C-32 , C71, Cc

                      •   Not all employees wi~ -l           ere screened.
                      •   ING/IRA recor ·ndi~~           y were not screened.
                      o   Most FPS wer       ened.

       o (S) Biometric Autom                    t (BATS) was available to screeners but was
       only local in nature a                      ected to the central BATS system .
       (Annexes C-1 , C-6,                     71 , C-92, C96, M-4)

       0 {S) The bo                 o cl have obtained access to the base by having an
       issued                  ba   e.

       7. (

                          integrated forces at FOB Marez as a Coalition base.

                0 (S) There is an ING compound adjacent to the base that afforded •
                access to LSA Diamondback, adjacent to FOB Marez. A company of ING
                occupied a second compound in the ASP in the southern of part of FOB
                Marez. (Annex M-1)
                              th
                •   ( Sj 11IRA Battalion (BN) occupied a compound within FOB Marez
                (across from the DFAC) separated by a gate controlled by an IRA soldier.
                (Annex M-1)
                                                     9

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                 • (S) FPS occupy a compound on LSA Diamondback. They were
                 integrated into the security force at FOB Marez and LSA Diamondback
                 and they had access to the base with an FPS ID Card . (Annex M-1 )

         • (.S) Coalition unit liaison teams and Advisor Support Teams (AST) executed
         physical control of ING/IRA personnel through their presence. Controls of ING
         and IRA appeared adequate. Accountability and physical control of FPS was
                                                                                             e,
         attempted by one senior NCO from the RAOC . This was inadequate. (An~
         C-9, C-10, C-11, C-18, C-21 , C33, C-34 , C-48, C-57, C-61 , C-60, C-72 - ,
         1, K-2)


         of their integration . (Annexes C-48, C-80)

         o   (.$) Large numbers of AWOL soldiers and turbulent le~              es make true
         accountability of the ISF difficult to achieve. At b , c           lity is day to day
         It is primarily the responsibility of the !SF chain  co- -11. o achieve
         accountability; ISF are supervised by the ASTs a       1aison teams. (Annexes C-
         9, C-1 0, C-11, C-18, C-21 , C33, C-34, C-48   ~ -57,     1, C-60, C-72, C-80, K-1 ,
         K-2, K-2, K-1)

        • (S) The bomber could have o~              e s to FOB Marez as a member
        of ISF, but this possibility is lea '~litii/the three. Based on the
        evidence, he obtained ace s to th      FAC by wearing an IRA uniform.

                                               ommendations



        • ~) Continue t__.,_~ ,,. ,       icated headquarters to command and control FOB
        Marez/LSA •

        • ~) En       e       eets troop to task requ irements for integrated force
        p                 mayoral duties .

                     blish a clear relationship between the RAOC and its tenant units .

                 ,    mpower the RAOC to task with in an established threshold
                     Empower the RAOC to set and enforce FP measures

        (U) Physical Security

       • (U) Validate and balance stand ing FP manning requirements with the SBCT
       troops to tasks requirements for combat operations.

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                    0       (Sj Sustain ownership and continuity of ECPs.

                    0       (S, Develop ownership and continuity of guard towers.



                                                                                                     e,
                                  •    (Sj Affix responsibility for assigned sectors to maintain fence
                                       line and towers
                                  •    (Sj Establish long term, battalion level ownership
                                  11
                                       (Sj Assign soldiers to specific towers for 60-90 days at a
                                       time for continuity                                     ~
                                  11
                                       (S) Ensure disciplined execution of guard/ECP/se h           1e
                                  11
                                       (Sj Increase senior leader supervision


         line establish assive measur_es, and improve ECPs.

         o (8) Review entry control points and closely relook the O              ~io .oiLS.A_
         Di~rl}_on~~ack's \f\!est ga~ ~nd FOB Marez's C       .             V
        • (8) Allow DFAC access only to authorized indi                       nforce with military
        headcount all the time and with guards as fr} l_e pro             ion posture dictates.

        • (S) Base commander should crej eS ~ission Essential Vulnerable
        Asses. sment (ME. VA) list and dete • app pnate FP measures. Assign IOIJ.9·
        term F.P responsibilities ..t-0.a.desig         • or..ow.ner.sbip and con.tirwit¥JOL
        bi9!!:.densi_!y__
                        §.fg_c!§ to inclup_ e-DFA~. fiJrw s.s fa cility, MWF facilL ~-
        gost-exctiao.g.e...

        • (S) Mobile train ing tei.,,.~,,wi..,a provide Level Two AT training to those units
        already in theater. U          s nated to deploy to Iraq that will have base
        protection responsib1            uld deploy with Level two AT trained staff.

         U Securi

        • ~) As                       HSTs for workload at FOB Marez/LSA Diamondback to
        cond                   EP security screening and an active Countgr -Intelligence
             m.

                i           BATs to THTs/HSTs and ensure SIPR connectivity.

              Tighten control of all badges at the base level.

                        •    ~) Conduct PAI of badged employees monthly per FOB Marez
                             SOP.
                        •    ~ Ensure positive handoff of badged employees between units
                             during RIPrfOA.

                                                           11

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                     0
                         (C) Continue physical controls of active badged employees by unit
                         representatives.
                     0   (S) Re-issue new TFO badges to security screened employees.

         (-C) Iraqi Security Forces

         0 (S ) Establish an MNF-1/MNCI policy governing ISF access to Coalition bases n . ,
         and facilities .                                                                          V
        o (.S) Retain emphasis on building credible ISF. Strengthen US/
        do not step back from integration efforts , but maintain accountabili                  _g_l
        controls.

                                                                th
                0  (.S) Sustain 1-5 IN relationship w/11 IRA Battalion~
                • (.S) Sustain 1-24 IN relationship with 106th ING B         ·o
                • -(S) Establish similar unit partnerships •                      arez and LSA
                Diamondback
               • fS) Security screen all lSF (IRNING            _.1111111.r,eside on
               US/Coalition FOBs



           fS ) Because we cannot determ                    th bomber accessed the base, the
        evidence did not establish proxima             u       r this incident. Rather, the

        separately or in combination            • g to the circumstances that enabled an
        unauthorized access to occ

                                                                          th
              • TFO mas ~step by assigning the 248 RAOC to command
       and control FOB Mar         SA Diamondback . TFO was , however, ultimately
       responsible for th    C's command relationship with tenant units and for
       assigning it dA    wa not resourced to perform.

               • L, M              ss (3 rd SBCT, 210), the 248 th RAOC and the tenant units
       shar       ~      ility for the lapse in controls of the badging proces~~the failure tc
        ro _    . a ount for batjges during RIPfrOA; and the lack of montbJy
                    n of bad ed em lo ees.

                 • _ o_SB_C_Tu__s_bare command_[e_sp.on.sjbility for the failur u o__ac..c_o_unt
       - ---· - s- during RIPfrOA..
                   - - ---·
              • The 248 th RAOC and the tenant units share responsibility for not
       consistently executing tower guard and ECP duties to standard , and for allowing
       five undetected breaches of the perimeter.


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                              th
                 0The 248 RAOC commander and the commander of 1-24 IN share
         responsibility for not ensuring .a m.Wtary headcount was on duty at the DFAC the
         week of 19 December 2004.

                 The TFO DCO supervised the 248 th RAOC in the execution of its duties
                 0




                                                                                                       0
         and was responsible for ensuring AT/FP issues were addressed .

            .(S) There were mitigating factors that come into play:

                 -   The OPTEMPO and troop to task requirements of combat
                     The availability of FPS
                                                                                          r:bCtj
                     The October relief in place of 3rd SBCT, 210 with 1st SB ,      .
                     Like all units in theater, the 248th RAOC was inex eri c •
                     commanding and controlling a FOB of this oature            nique

                     months, the unit had made positive improvem              t         eral areas.

             fS+ Since proximate cause could not be est 1sh         given these
         mitigating factors individual culpability cannot be rmm d. Nonetheless,
         commanders at all levels are ultimately res7 sible    ensuring execution to
         standard .                                    ~


                                                              nd Demo ra hie Status

            (U) FOB Marez is located       he sou em edge of Mosul, Iraq. It originally
        served as the Iraqi Republi n         rd Fifth Corps Headquarters and the
        structures were built in    ,....,...,Os. TFO now uses the facility. (Annexes M-1,
        M-2)

             (g) FOB Mar-- _).~s s of two areas: the cantonment area and the
       Ammunition          ~ t (ASP). Tb_~_can~onment area encompasses 3.4
        kilon_:ieters     ha     perimet~!:_ol ~:.~ J!ometers and consists of over 300
        buildin                arracks admi_r_:iistr9 tive buildings, dining_facilitias.,._th.eatre, etc.
       Th_e              an e~ter_~I. ~erimetE}r oJ 14.1 kl lQmeters (not including_~
       bo       a     1_ the cantonment area)i and the Ammunition Holding Areq _(AHA)
       ..-~-.a .es-g,.g..sG!-lJare--kilometers within the ASe. (Annex M-1)

                     SP lies immediately to the south of the cantonment area and is
                     open land on all sides. The ASP area contains 65 ammunition
               , warehouses, bunkers and earthen revetments throughout the ASP,
       most of which have been cleared and sealed by EOD. Tenant units currently use
       an area just west of the ASP as a firing range. The ING also has a compound
       adjacent to the ASP. FPS and US Forces guard the ASP. (Annex M-1)



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               ($) LSA Diamondback lies adjacent to the eastern border of the Marez
         cantonment area. The area immediately north of the FOB Marez was once part
         of the former Iraqi base but now lies in ruins and is occupied by Iraqi locals.
         Highway 1 (Main Supply~RQ.L!t~,(fy]SR) Tampa) runs the western border of the
         facility. The land west of MSRTarnpa is open. (Annex M-1)

            (.g) The total population of FOB Marez is 4,214 personnel, comprised of
         approximately 3,108 US military, civilians, and Coalition partners, 205 ISF, and
         901 Contractors. (Annex M-2) The major tenant units include:

                       •
                       1-5 Infantry Battalion, 1-25 SBCT, TFO
                       •
                       1-24 Infantry Battalion, 1-25 SBCT, TFO
                       •
                       Elements of HHC, 3-21 Infantry Battalion, 1-2
                     0 25th Brigade Support Battalion (BSB), 1-25
                    • 276th Engineer Battalion, 1-25 SBCT, TFO
                    • 133rd Engineer Battalion(-), TFO
                    0  73rd Engineer Battalion, 1-25 SBC
                    • B Company, 115th Signal Campa
                    o  744th EOD Company
                    • 1941h Long Range Surveillance
                    • Radar Section from A/2/131s         attalion (-), TFO
                    • ODA 052, CJSOTF-
                    • A Co., 106th ING B
                    • 11th IRA Battalion

            (8) LSA Diamondback (            wn as Mosul Airfield) is located immediately
        south of the city of Mosul a           meter west of the Tigris River. The facility
        servesa{Lamajor lqgis                nd APOD for MNC-1. It has a total populattQD
        of approximately 4,6           neTcomprised of 2.808 US     mm1filY, civilians. and
        Coalition partner              d. 1,628 contractors.•- The major units currently on
        LSA Diamon                e (Annex M-2):

                                   orps Support Battalion
                                  ombat Support Hospital (TOA with 228th CSH on 2 Jan 05)
                            lements of the 293rd MP Battalion
                           Elements of the 107th FA Battalion, (retrained as MPs)
                           401 st Transportation Company
                           367th Transportation Company
                   •       Elements of the 160th Special Operations Aviation Regiment
                               th
                   •       194 Long Range Surveillance Company
                   •       THT, 310th Ml Company,
                   •       330 th Military Police Detachment, TFO
                   •       426th Civil Affairs Battalion, TFO



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                                             VI. (U) 248 th RAOC Headquarters

                (S,-I addressed three areas concern ing the command and control structure
            that existed on 21 December 2004. First, the 248ih RAOC lacked the command
            authority to effectively influence tenant units to support force protection requests.
            Second , 248 th RAOC was not staffed to effectively handle all the missions it was
            assigned. Third, there were policies and procedures that were not consistentlyr >•
            applied by units on the FOB . I address each of these areas and make sp~ . - . V
            recommendations for each .                                                    ~

            A. (U) Headquarters Command and Control Structure

               (~ ) On 21 December 2004, FOB ,-w,::,--=...JJ..J..al.JJ:1.U.<:1.U.L.LI..I-L..J..J..LL~1J...Ut1f-""..IIII,.._.,=.......,,_.,
            by the 248 th
            the Operations.___ _ _ _ _ ___.:...__.:...__.:..._ _ _ _----::111,...a.i
            C-46)

               ~ ) The 248 th RAOC was mobilized on 5 D               m•~ - ~...,                                       ployed to
            theater on 20 February 2004. They arrived in Ira                                                           4. The
            RAOC deployed at 100% of authorized stre th wi                                                                 s
            assigned to TFO to provide command an        ........,'"'-L..L........._~........,__.,_._........._.........,   Iraqi and
            Turkey border. That mission required t P"a.-"111...,.,.-----,-,-------,--'                                       eight of
            their soldiers. Th e remaining me er oft                it were dispersed among the
            TFO staff or were used as Liaison Ic            0). (Annexes C-69, C-89)


         (ID) deployment with MNB-        .    296 th Brigade Support Battalion (BSB)
        exercised command a .                 FOB Marez while concurrently performing its
         primary mission of sus i        t support to the SBCT. When 3/2 SBCT
        conducted its r e'ef li ~
                                p       ansfer of authority (RIP!TOA) with 1st SBCT, 25 th
        IN, Brigadier Ge a            Carter Ham, Commanding General (CG), TFO and
                                                  th
        MNB-NW, o a               olidate the 248 RAOC and assigned it garrison
        command d ies FOB Marez. At that time, 248th RAOC was able to
        consolid4._ ~     • 27 deployed soldiers at FOB Marez for this new mission. 3
        (Ann     N    1, C-46, C-47)

                       I      ovember 2004, the 116th RAOC, which had been performing the

                  an duties at FOB Endurance. The 248 th RAOC expanded its mission to
                 de LSA Diamondback. (Annexes C-46, C-47)

           f-S) The 248 th RAOC's mission was to provide command and control to FOBs
        Marez and Diamondback in order to provide integrated force protection and
        execute mayoral duties. (Annexes C-31 , C-46 , C-47)
        3
         Two soldiers had been ~ (bf~ vedeployed; three soldiers met their two year mobilization limit;
        and four remained taske to   O or duties within MNB-NW.
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              (S} The 248 th RAOC's duties included:

                    Force Protection (Annexes C-43, C-44, C-45, C-46, F-2):

                            o      Managing Force Protection Operations Center (FPOC)
                            o      Providing base Sergeant of the Guard (SOG)
                            o      Supervising unit SOGs
                            o      Integrating towers/Entry Control Points (ECPs)
                            o      Establishing standardized base procedures
                            o      Directing and implementing Base FP policies an

                    Mayoral duties (Annexes C-43, C-44, C-45, C-46):

                           o    Internal base administration
                           o    Contracting and construction
                           o    Managing the Base master pl
                           o    Managing department of p
                           o    Real estate management
                           o    Badging/access
                           o    Protocol

          (S) To execute these duties the                      anized as follows (Annexes C-
       46, F-2):

               Command section (1)
               Force protection Ops            (11)
               Mayor - Marez (5 +                mentees)
               Mayor - Diamon                  gmentees)

                                           force protection on FOB Marez directly through the
                                     back it does so through the 17th CSB that directly
       supervises F             Ies there. (Annexes C-46, C-47, C-54, E-14) Specifics
       regarding                I0n of force protection tasks are discussed further in Section
       VIII.

                      OC's doctrinal mission is to coordinate defense for a base cluster
                    ioned in a Corps rear area. The 248 th RAOC has no CSM or SGM.
                     inate with brigade and battalion command sergeants major with a
                hen he was committed to other tasks, a SFC, Sergeant of the Guard
               d that role. The RAOC has no plans officer. One major was diverted to
      augment the austere TFO staff. With no CSM/SGM, no plans officer and 18
      soldiers, the RAOC was challenged to accomplish its assigned tasks. (Annexes
      C-9, C-20, C-31, C-46, C-66, C-89, C-90)



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              (.S) Command and control relationships were not clearly established . MNB-
          NW FRAGO 069 assigned the RAOC as the installation command element, but
          its authorities and relationship with tenant units on the base were not clearly
          defined. Most tenant units belong 1st SBCT, 25 th Infantry Division. Their
          assigned tactical mission was to conduct combat operations in Mosul. (Annexes
          C-13, C-56, C-46, C-47, C-48, F-2)

              (.S) In order to conduct force protection at FOB Marez, the RAOC provided
          HQ; the tenant units had to provide the manpower. To accomplish this ,
                                                                                           n •
                                                                                         fscv
          responsibility for the towers and entry control points (ECPs) was assigne
          tenant units. The RAOC was responsible to integrate the FP plan a ~
          units. (Annexes C-28 , C-31, C-46, C-47, C-89, C-90)                ;        V
             (S) In order for this arrangement to work effectively, the~ ~had to be
         robust enough to accomplish its assigned and implied tal k· 1             ave
         adequate resources to execute the FP tasks or authoritYi              ant units for
         resources (within established parameters); and , i       to   e !early defined
         policies and procedures that could be applied      sis    ti    enant units.
         Based on my assessment, I find that it was lack         o cfegree or another in
         each of these areas for several reasons . (Annexe      -13, C-31 , C-46 , C-47, C-
         89, C-90)                                  ./.

              (S) In the three the months t~         1t ~ ~ssion, the RAOC had instituted
         systems to improve force protecti               ve I areas. Those systems were
         neither mature nor fully impl ment                 ecember 2004. (Annexes C-46, C-
         89)

                                                    nd Tenant Units

              (-S) The RAR C               c   mand and control headquarters element. (Annex
         F-2) It relied on na               for the vast majority of its manpower to execute FP
         tasks. (Ann~                  C-47, C-89, C-90)

           . (S)~ s~                lity for the four common ECPs was assigned ·to the following
         units: ~

                      te: 133rd EN (Annexes C-24, C-46, C-62, N-4)
                      te: 276 th EN (Annexes C-46, C-62, C-95, N-4)
                     ate: 25th BSB (Annexes C-4, C-14, C-46, N-4)
~                Stryker Gate: 1-24th IN (Annexes C-9, C-27, N-4)

l       f'rL (S} Guard tower assignments were also established , but they changed

        frequently as units adjusted their troop to tasks requirements coincident to
        combat operations in Mosul. (Annex C--4, C-9, C-90) This was , in part, the result
        of 1-23 IN departure from FOB Marez as the Corps Reserve and was also
        impacted by FPS reliability and availability. These reassignments of tower

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          responsibilities were managed through the twice-weekly FP meetings held by the
          RAOC. (Annexes C-9, C-27, C-28, C-48, C-59)

              (£.) To manage the myriad of FP tasks and to coordinate efforts amon the
          tenant units the FP cell hosted force rotection meetings twice weekly. )(3), (b)( )
               (b)(3), (b)(6) the RAOC's (b)(3), (b)(6) ran the meetings. Attendance was
          consistent, owever, the unit representatives were usually company grade
          officers or senior NCOs. In discussions about force protection, units consis
          referred to these bi-weekly FP meetings, but these meetings appear to h
          been effective only for coordinating routine activities. (Annexes C-9, C-
          C-59, C-72, C-89, C-90)


              (&) The RAOC staff relied on tenant units to cover iden                 ents, or
          to accept short-term FP tasks. While all units had to ba                  rational
         mission tasks with FP tasks, the maneuver units were c                  ombat
         operations in their battlespace and were providin                   on for combat
         outposts in the city. In this regard, robust corn                 n Mosul were
         maneuver unit's most meaningful contribution t                  protection. As a
         result of combat missions, maneuver units w uld            ntly be unwilling and
         unable to accept FP or mayoral taskings fr       the RA C and would voice this at
         the FP meetings. (Annexes C-9, C-12,              -27, C-46, C-47, C-48, C-56, C-
         67, C-68, C-95)

             (S) The troop-to-task rati                         FP was approximately 369 soldiers
         for a 24-hour period in Dec            r 20      The FPOC broke them down into three,
         eight-hour shifts of 123 sol              enant units on Marez were tasked by the
         RA6c Eased on their--                      of personnel and mission. The units would
         find the existing opera                   difficult to maintain at times while still
         providing necessa                  I to the RAOC. 4 (Annexes C-27, C-46, C-47, M-7)

                                    tell the RAOC that in order to balance their mission
         requir                force protection and mayoral taskings would have to come
         from                  gade headquarters rather than from the RAOC. In principle,
         t •                 able, but in practice, this created an environment in which the
                          leverage with the tenant units. The RAOC would have to request
                      sk the brigade, in order to task the unit. While this may be acceptable
                      quirements, this was not effective for routine taskings. (Annexes C-9,
                     , C-66, C-67)

            ) As a result, the RAOC would often either have to find another unit to
        accept the tasking, accept a lesser solution, or allow the tasking to go unfilled. It


        .; Most tenant units developed their own perimeters within the existing compound (FOB within a
        FOB). This is a sound practice as it creates secondary echelons of protection. The units,
        however, should not allow internal perimeter manning to degrade support to the RAOC for base
        defense.
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            does not appear that an effective forum existed to address these kinds of issues
            at another level above the FP meeting, short of going to TFO. This should not
            have been necessary to resolve daily issues that should be resolved among FOB
            Marez units. While it was not the proximate cause of the bombing, it is notable
            that due to this, there was no m i l i ~ a t the DFAC the week of
            19 December 2004. (Annexes C-13, C-46, C-66, C-47)

                ~ Given the balance between force protection tasks and the requirements
            conduct combat operations in Mosul, TFO needs to establish a viable
            mechanism to enable the 248 th RAOC to resolve routine issues on the
            (Annexes C-46, C-47)

            C. (U) Policies and Procedures

                (C) To successfully integrate the activities of the tenan                           efined
            and easily understood policies and procedures must be·                                   B
            Marez had an effective FP SOP. The TFO bad                                              issued in
            October to standardize procedures throughout
            I policies. T~dgsLSi>Ebad.Jlo.i.b..eJfili
            LSA QiamonabacA by December 2004_ (

            Recommendations:

                o (C) Continue to resource F                             iamondback with a dedicated
                  installation HQ whos duties                         cipally force protection and mayoral.

                o   (C) Empower the R                     sk tenant units for immediate, short-term
                    requirements an                      g range, routine requirements within a defined
                    threshold to ac                   e operational requirements.

               o (C) Estab.                   anism by which the RAOC commander can interact
                 direct!                   t XO/CSMs (if not BN commanders) to resolve issues
                 that t               eeting could not resolve which do not merit MNB-NW


                             iew the standing FP requirements for both Marez and LSA
                           ondback and validate their allocation of tenant units.

                        Prioritize installation force protection requirements based on troop
                    availability and mission criticality. Ensure the HQ has sufficient staff to
                    meet minimum troop-to-task requirements. The 2-180th FA Battalionjs
                    replacing 248th RAOC in February 2005. It will have a HQ staff of 44.
                                                                                              0

                                                                                        th
                    This will alleviate some of the challenges experienced by the 248 RAOC.


        5
            HQ - 4 personnel, Mayor cell - 19 personnel, Force Protection - 21
                                                                 19
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               0         (S) Establish a forum to integrate FOB Marez and LSA Diamondback FP
                         requirements on a regular, recurring basis.

                                                 VII. (U) Intelligence

               (S.) I examined the inteUigence available to TFO, 1 SBCT, 25 th ID, the FOB
           Marez tenet units, and 248 th RAOC to determine if there was a credible
           intelligence report in the days preceding the bombing of a suicide bomber
          threat to the FOB Marez DFAC. I also reviewed the intelligence gatherin
          analyzing and disseminating responsibilities at FOB Marez to determ·
          process somehow contributed to the lack of advance warning of the
          found no specific intelligence threat warning to indicate the threa
          bombing to the FOB Marez DFAC on that day. That said,
          and disseminate the intelligence on FOB Marez is not wel
          12, C-30, C-38, G-4, G-5, G-7, G-8)

              (S.) 248th RAOC had two soldiers assigned i                  onsibilities, a CPT
          and a SSG. They served as night battle capt                     FPOC. Their
          intelligence related duties included collection an        mmation of SIGACT
                                             6          th
          information during the night shift. The 248      AO     lied on TFO to provide
          intelligence analysis and threat warnings.       exes C-12, C-30)

             fs.) Nightly lntelli~ence Worki                 conducted by 1 SBCT, 25th ID
         via MIRC. The 248t RAOC did n                   participate. The TFO G2 routinely
         passed intelligence about       B-NW        and FOB Marez to the 248 th RAOC.
         The 248th RAOC provided            CT inf< mation received from FOB Marez
         perimeter towers and ECP              CT, 25th ID and TFO. (Annexes, C-12, C-15
         C-30, C-38)

             fs.) A review of            ence in November and December 2004 revealed
         that the overar              to FOB Marez during that time based on credible
         threat warni              ehicle-Borne or Vehicle-Carried Improvised Explosive
         Devices (V            IED). This threat of VBIEDNCIEDs, coupled with a marked
                              nt operations in Mosul required the maneuver units to focus
                        ssets outside of the FOB. (Annexes C-38, G-1, G-2, G-3, G-7)

                             ntelligence report, dated 8 December 2004, identified a group of 15
                             mbers, assessed to be associated with the employment of

                   ) b) 6)  was the 248th RAOd                   ib\/3\, lb\(6\          t, with his primary mission
                   • '   d  e estimated spending 10-20% of his time focused 01 lo:maQD!ri1m~ t~e (Pm,inder
                               ••
        involved with Operations.I       /b)(3}, (b}(6}   I was the 248th RAOC            b 3 jb (6          He
        estimated that he spent 4 hours per night revIewIng intelligence information from TFO and FOB Marez
        tenant units, however spent the majority of his time focused on Operations. Neit'ler individual conducted
        Intelligence Ana~sis or produced Threat Analysis products for FOB Marez. Both had routine access to TFO
        and 1 SBCT, 25'' ID Intelligence Websites via SIPRNET and did state that they visited these sites during
        routine performance of their duties.

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          VBIED/VCIEDs, operating within the Multi-National Brigade Northwest. This
          report was deemed unreliable due to the source. (Annexes G-3, G-11)

                (g) A review of the intelligence for the 10 days prior to the bombing revealed
          an indirect fire threat to the FOB Marez DFAC, but not a suicide bombing.
          HUMJf\JT 21nd SIGINT confirmed. the thrs:at, noting increased..Qp_e1a1ion.s.JlfARti-
          lcaqLmor:taLteams-w.orking-jF1:·close-13r0ximity.oftbe-BaghdacliraffLc.C.lccle,
          fl/losuL There were reports of personnel maintaining surveillance of FOB Mar
          however, the specified target was Stryker vehicles exiting the FOB. (Ann
          5, G-4)

              (g) It is notable that the 1 SBCT, 25 1h ID Commander was about
          Force Protection measures for his subordinate units in prepara
          upcoming holiday period. This was not, however, in refe
          intelligence threat to FOB Marez. It was to be implement
          December 2004. (Annex C-13)

          (U) Findings

         • (8) No specific intelligence threat warning indic   a suicide bombing at the
         FOB Marez DFAC on 21 December 2004.            nnexes G-1, G-2, G-3, G-7, G-8)

         • (8) The overarching threat to F                        g that time was the threat of a
         Vehicle-Borne or Vehicle-Carried                      Explosive Devices. (Annexes C-38,
         G-1, G-2, G-3)

         • (8) While not related dir              suicide bomber attack, an increased Force
         Protection Posture (due                 ect fire threat) may have mitigated the
         damage inflicted by th                 amber at the DFAC. (C-13)



                                   organize intelligence personnel within the RAOC to cover
                                    night shifts.

                         ure intelligence personnel and products are integrated into FP
                      ing group meetings.

                    Ensure intelligence personnel participate in higher headquarters
                intelligence forums and actively monitor adjacent commands' intelligence
                forums.

                                        VIII. {U) Physical Security

               (8) FOB Marez is a difficult base to secure. In trying to determine how a
        suicide bomber could have gained access to FOB Marez and subsequently, the
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          Marez DFAC, we examined the physical security of FOB Marez and the FP
         procedures and processes in place on 21 December 2004 to find potential gaps.
          It is possible that the suicide bomber located gaps in the perimeter defenses that
         allowed him to breach the perimeter on the day of the bombing and gain access
         to the FOB. The bomber may or may not have carried the explosives onto the
         FOB with him the day of the bombing. I identify the potential seams observed
         and make specific recommendations to address each in order to minimize the
         possibility of exploitation of these areas in the future.

         A. (U) Perimeter Security

             (U) The most basic tenet of physical security is securing the pe •
         an enemy breach. Many aspects of perimeter security, wh
         effectively, provide effective security.

             f&) A perimeter fence secures FOB Marez. The exi                  is old and in '
         some areas requires repair. These areas appe                       eachable by
         personnel on foot. 7 On 28 December, we insp                      ter and
         discovered five breaches in the ASP fence line.                breaches were
         deliberately cut and one area of fence appea d to       e been damaged from a
         vehicle crash from the Marez side of the      .8 The ence line also contained
         several gaps large enough to allow a p           rawl under the wire. 9
         Approximately 60% of the perime                   with triple strand concertina
         wire on either the outside or insid            perimeter fence. (Annexes C-98,
         C-99, 0-7, N-4)

           (g) The 248th RAOC pr                       recognized that the fence was old and in
        need of improvement, a                         proval to upgrade it. A MILCON project for
        FY05 was approved to                        e fencing around the ASP. (Annexes M-5, M-
        6)

                                      o Electronic Early Warning (EEWS) and no perimeter
                                  of the FOB perimeter is left to soldiers in the guard towers.
                               , a JLENS RAID system, is being installed to improve FOB
                             CON project approved for FY05 includes emplacing high
                          g and, an alert and camera system. (Annexes M-5, M-6)

                     r pending Ml LCON force protection projects approved for FY05
                      guard towers, construction of an ECP identification screening
               g, and an inspection/turn around point on the access road at C Gate.
               xes M-5, M-6)



         The existing fence was built in the 1980s,
         The breaches found by the investigating team were quickly mended by the 248th RAOC.
       9
         The 248th RAOC is responsible for monitoring and repairing the perimeter fence. They often had to use
       the FOB's dedicated Quick Reaction Force (ORF) to perform duties to maintain the perimeter.
                                                           22

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             (g) A large portion of the compound is observable by personnel outside the
         FOB. Because of this, guard-mount patterns, and other base defense activities,
         are easily observable by AIF. A portion oLt~erililfileJJn the cantoomen:Lis.
         augmeote.d by a ..vehicle berm that degrade.s .tbJiLdJre_ciline-.PL.sjg.btloto..tb.e_EOB,
         but, the ASP perimeter has no similar berm. The roUJng teffain allpws for
         observation into much of the compound. Sugar Bee:t Ro.ad diss.ects FOB Marez
         and LSA Diamondback and allows..dire.Qt visibilitylnto both. 10 (Annexes M-1,
         4)

             (U) Standard

         (U) OoO O-2000.12-H Chapter 21 provides that a perimeter barrier
         an intruder to make an overt action that shall demonstrate inten
         perimeter, assist in controlling and screening authorized e
         protected area, and impede vehicle passage. (Annex E-1

         (U) Findings:

               •   (S) Ib.e§xlsting.EOB.Marez perJrneter L
                   ssims:Lar.eJiS.,_ The perimeter had five brea
                   December 2004. Theca.w.ere...als.o            ID.ll!S....u...u.J...oJ.:...u.JJ:LL.J/JIJ.l~L..-Q.+..........c..o

                   person to crawl under the fence.                s C-98, C-99, N-4)

               •   (S) An FY05 MILCON proj                                   approved for a new fence in the
                   cantonment area an  SP.                               struction of an internal fence around
                   the AHA has also be                               . (Annexes M-5, M-6)

               •   ts) A large portio                          pound is observable by personnel outside
                   the FOB. (Ann                            -4)

               •   (S) FOB                    no electronic surveillance passive measures such as
                   Electr                   arning (EEWS) or perimeter cameras. A J-LENS is
                   bein               d to augment observation. (Annexes D-6, 0-7)

                             re are abandoned buildings directly outside the FOB that allow for
                             reconnaissance and concealment. (Annexes 0-6, 0-7, N-4)

                       lt is possible that the bomber gained access to FOB Marez through a
                       ach in the perimeter. (Annex N-4)




        10
           Unoccupied buildings are directly outside the perimeter. The "Sugar Factory" located just north of Gate C,
        allows for covered observation onto both Diamond Back and Marez at both West and C gates. Plans are in
        effect to close Sugar Beat Road,


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              0   ES) Breaches must be repaired and breachable areas should be reinforced
          with triple strand concertina wire.

              0     (S) Place sniper screens along the fence line to prevent observation into
                    the FOB. As an ancillary benefit, sniper screens make breaches in the
                    perimeter more visible.

              0     ES) Regularly check abandoned buildings directly outside the FOB or •
                    the alternative destroy such buildings that allow for enemy cover or
                    observation.

             0      (S) Augment tower observation with EEW and/ or perimet
                    system, with the feed going directly to the FPOC. A
                    motion detectors has been approved for FY05.

             •      (S) Assign tenant units sectors of the perim
                   responsible, including condition of the fen
                   and equipping, and integration with the

         B. (U) Guard Towers

             (U) Guard towers are a critical P,art                 rce protection. Appropriately
         staffed, trained, and equipped to                          1cantly decrease the probability
         of perimeter breaches by the ene                        D-6)

           (S) Most FOB Marez gu                 wers are adequate. Communication to the
        FPOC was adequate. In ce                     s of the ASP, however, some towers do not
        have overlapping fields                     to the undulant terrain. Some towers require
        repair and have piles                 t their base. (Annexes C-89, C-98, C-99, N-4)

                                       s, soldiers were not adequately trained or lacked
                                        rs manning guard towers were not qualified on their
                                   s. S..Q.IIleJlld.nothave.. rangt:u~ard.sJo-p1,0yicteJM.eJl::defin.ed...or
                                                                                   th
                               --·J.f!C~:.-§e>r:nela.ck~9 l?irig~ul§lJ~ The 248 RAOC guard
                           ers these issues, but tenant units manning the towers were not
                           forcing the standards. Soldiers manning the towers were rotated
                         ich led to a lack 9f continujty]ni)rocedures. (Annexes.C-4,C98, ·c-


                  ) A MILCON project exists to construct new guard towers at the ECPs and
                   ASP for FY05. (Annexes M-5, M-6)

        (U) Standard

           (U) FM 3-19.30 provides that the level of tower protection should equate to
       the threat level. Ideally, towers should be hardened against small-arms effects
                                                         14
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           using sandbags, salvage armor, or commercially fabricated bullet-resistant
           construction. Tower personnel should possess communications capabilities, as
           well as night observation equipment. Target-acquisition equipment is also
           helpful.

             (U) Tower height should be appropriate for terrain observation. Towers
          should have overlapping, mutually supported fields of observation and fire an
          provided with fortified, back-up defensive positions.



          (U) Findings:

             • (-S) Most FOB Marez guard towers are adequate.
          repairs. (Annexes C-89, C-98, C-99, C-4, 0-6)

             • (g) Certain towers in the ASP, however, d
          view due to the undulant terrain. (Annexes

             o (g) Most towers were hardened but di                back-up defensive
          positions. (Annexes C-98, C-99)

             • (S) Not all tower personnel                   ly trained or equipped. (Annexes
          C-4, C-98, C-99, 0-6, 0-7)

          (U) Recommendations

             • fS) To ensure c                rsciplined execution of guard tower duties
               and improve c             m perimeter defense, tenant units assign
               subordinate              soldiers to man towers for a minimum 60-90 days
                                   ant units increase senior leader supervision of the towers.

                                he RAOC guard tower SOP. Ensure that the soldiers are
                                 ed with their weapons, have the proper equipment including
                          ards with wel.1:-define.d~?~ctors of fire, and binoculars, Provide
                          instructions when necessary.

                                   C. (U) Entry Control Points (ECP}

               ) The Entry Control Points (ECP) must allow for adequate flow of friendly
         forces, while still maintaining the safety and security of those manning the ECPs
         and those inside the wire.

             fS) On and before 21 December, FOB Marez had four ECPs: A, B, C, and
         Stryker Gates. (Annexes C-89, C-99)

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                  c tS,) A Gate was dedicated to local national (LN), civilian traffic, and ISF
          individuals returning from leave; (not ISF units returning from missions).
          (Annexes C-16, C-98, C-99)

                 e (S) B Gate was dedicated to US military traffic and ISF convoys
          escorted by US Forces. (Annexes C-62, C-98, C-99, N-4)

               c (S) C Gate was dedicated to traffic moving from the Mosul Air Fief '
         (FOB Diamond Back) West Gate to FOB Marez. (Annexes C-14, C-98, C
         4)

               e (S) STRYKER gate was dedicated to US military traffic
         convoys escorted by US Forces. (Annexes C-98, C-99, N-

         (U) A GATE

               ~ A Gate consisted of a pedestrian entran                     e entrance. A
         Gate was manned by US soldiers and supple                         personnel.
         Pedestrians entering at A Gate were initially sea               PS with US Forces
         overwatching, and then searched again by U sol               Metal detecting wands
         and.explosive detection devices were_not.          s va          The VaQQLiracE;r
         e~EIC?.~ive dett::;9fj()n_9~'tic~s_ 9 rrivE;~Ut1   ust 04 !>ut had been down for
         maintenance reasons since mid-                   :. hen av§Jlaple, Jh~~§:l devices
         wou_ld be used. (Annexes 0-6, 0-                 0, C-98, C-99, N-4)

             (S.) Green badged empl            coul  nter the FOB unescorted. LNs
         authorized green (no esco              s would present their Iraqi ID card, receive
         their badge, and be allo                mpanied access to FOB Marez. (Annexes C-
         69, E-1)

             (~ Those wi                     red badges would wait in a holding area until a unit
        escort cam                      ny the employee onto the FOB. The A Gate SOP
        allow.e~Ly_eJI            ..holders to takeJhe KBR bus tQ._his desim1atecLunit area, in
        IJeJLotb •              lly _e.scorted _by_a_US):terv.ice_memb.er. _B_oldie_cs..working at A
        Gate             ..Jh~.'-tl!lr:1§.rn.PiJitY, how~y~r, ~JJg_sa!<:LthE:;t~JsLnot allow Lf\!swith
        ye              J9. !eave thie holding areaLeveJL0IJ.Jti~ bus, without US. esc.o.rts..
                       , C-14, C-16, C-69)

                   lian vehicles entering through A Gate were initially searched by FPS,
              en brought to a search area where both the vehicle and the driver
               ent a search by KBR contracted Brigada Security. Brigada sometimes
        used3L~mb dog to augment searches. US Forces over-watched Brigada
        searches. (Annexes C-14, C-16, C-20)




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              (a) Vehicle passengers were taken to a holding area to be searched by US
          forces, US ~ldiers then scanned the vehiclj, using the MVACIS,          (b)(7)e           al
          I               ~-  (b)(7)e        ~ ---~ . . (Annexes C-16, C-20)
             (8' After the bombing and in response to the CENTCOM Joint security
          Directorate (JSD) visit, A Gate was closed to all traffic on 30 December.
          Pedestrian and vehicle traffic now enter through either the Diamondback
          Pedestrian Gate or West gate. LNs are then escorted to FOB Marez throu
          Gate. When A Gate was closed, the MVACIS machine was moved to LS
          Diamondback's West gate. (Annexes C-4, C-98)

          (U) B GATE

               (S) US military traffic uses B Gate. B Gate is manned                                     nnel
          manning two overwatch towers and a M2 .50 Cal machin                                         an use the
          gate when escorted by US Forces and are not searche                                       ming from
          operations with US Forces. In part, ISF are not                                      ilitate a trusting
          relationship with US Forces. 11 (Annexes C-62                                      -4)


         (U) Stryker Gate

            fS) Stryker Gate is operated                                  is used in the same manner as B
         Gate. US military traffic use this                            ay also use the gate when
         accompanied by the US Fo s. 1                              es C-34, C-98, C-99, N-4)

         (U) C Gate

             (S) Traffic that era                   n LSA Diamondback and FOB Marez uses this
         gate. 25th BSB op                      ate 24 hours a day. The gate includes a military
         v~_~icle only (no                    -~ amL~t§.~arcu,.lane for~ILotJJ~ traffic. (Annexes C-
         4, C-14, C-3                     9, N-4)



                               to the 21 Deeember bombing, we found B Gate suseeptible to a VBIED attack due to a
                          tea serpentine, The serpentine should be constructed to require more aggressive vehicle
                           negotiate. There are four drop-arm gates at B Gate, however none were being used during/
                         Some of the drop-arms had been damaged due to US vehicle impacts that were not repaired.
                          were being repaired during the conclusion of our visit and were being used when available.
                 force protection note unrelated to the 21 December bombing, we found that Stryker gate is
                tib!e to a VBIED attack for several reasons. One reason is that the access roads leading to the gate
                 of the FOB do not have Traffic Control Points (TCP) in place to monitor incoming vehicles. The
        soldiers indicated that FPS had previously manned TCPs but had not returned since the Ramadan Holiday.
        One tower to the west of the gate was manned and had some over watch of the access roads, but no
        communications existed between the tower and the gate guards. The gate guards consisted of 2 soldiers
        and 1 NCOIC. They man the gate with one Stryker Fighting Vehicle as a heaV'/ weapons platform and a
        barrier, There ls an overwatch guard tower at the gate but the gate security rarely has soldiers to man it and
        the vehicle. The EC P's only additional barrier is a sliding metal gate that could not alone stop a large truck.
        A Detention Facility is located 30 meters from the gate. The close proximity of the facility to the gate could
        potentially be exploited by AIF.
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                 (.£.} All non-military vehicles are searched when passing through this gate.
             Soldiers were not consistently using under-vehicle mirrors when we first arrived
             at FOB Marez, however, over time they began to use them. Explosive detectior
             equipment was not being used and has been inoperable since mid-December.
             (Annexes C-4, C-20, C-14, C-46, C-98, C-99)

                (S) US soldiers conduct searches of badged LN employees, contractors an
            their vehicles. Vehicle searches were conducted within clear sight of the vehi
            that the occupants had just exited. This allows the passenger to observe
            search patterns. (Annexes C-14, C-98, C-99)

            (U) Standards

                (Gj To perform this mission effectively, ECP guards mu
            trained in the following areas: badge access procedures,
            and rules of engagement.

                (S) IAW FM-3-19.03 ECP gates should be                                     a considerable
            vehicle weight and speed and provide a barrier                              s entry into the
            installation. 13

               (.£.) Vehicle gates should allow for lo                 vehicle in a search area,
            preventing escape upon detectio                              go, and allowing for the over
                                                                               14
            watch tower to engage with letha                          cessary.

            (S) Personnel outside of     search rea should not be able to observe
         vehicle search techniques,         ent, or procedures. This mitigates the
         enemy's ability to deter •           sses in searching capabilities, techniques
                                                                                       15
         and procedures. It a             s the damage of a remotely detonated IED.
         The vehicle search            be designed to give the search personnel the best
         access to vehicl            to underneath.



                                rned execution of assigned tasks to standard and ensuring the
                              perable equipment requires emphasis.




                   e gates must be able to stop a 60,000 pound vehicle. {Mil Handbook 1013/14)
        1
            " The walls around the search area must also be able to withstand a 60,000 pound vehicle from passing
        through. The walls can be made of HESCO. concrete, dirt berms, etc. The walls have three functions:
        prevent a vehicie from escaping the area (same as the gates), prevent observation of the search, and to
        minimize high velocity fragmentation and small blast effects.
        15
           This requires the walls be as tall as the highest vehicie normally entering the search area. The walls
        should not      so      as to limit observation to the over watch and tower. A blast created by a large !ED
        (>500 pounds) will probably propagate over the wall. The only mitigating measures for such blast is resistant
        facility construction and standoff distance.
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          o   ~ S ! J , Q s i ~ bypass is inherently dangerous and very difficult to
          secure. It creates a complex ECP complicated by local traffic transit, high risk 01
          VBIED, indirect fire attacks, and the possibility of fratricide. (Annexes C-98, C-
          99)

          a (S) Some ECP guards were not trained to standard in search techniques and
          procedures contained within their SOPs. Not all ECP guards were using the
          equipment available to conduct the searches. Not all equipment was operab
          nor was it being repaired. (Annexes C-98, C-99)

          o (S) Some units took ownership of their gates, improved their positi
          displayed disciplined execution of their assigned tasks. (Annexe

          (U) Recommendations

              0    fS) Conduct formalized training on search in
                   explosive detection equipment.

              •    fS) Soldiers must adhere to disciplined e            : search procedures,
                   use of mirrors and detection wands, e of          from time to time.

              o    (S) Consider closin                       local civilian traffic. There is an
                   approved FY05 Ml                          tended to change the ECP layout
                   and improve traffic

              o    (Sj Tenant units inc                der supervision and checks of
                   perimeter barriers, g              nd ECPs to ensure standards are
                   maintained.



                                       FPOC has responsibility for maintaining an internal
                                 trol on FOB Marez. Their QRF consisted of a 6-man, 2-
                                5th BSB. They did not have a dedicated Roving Patrol.
                          , C-20, C-46, C-89)

                       found that the designated internal QRF was often required to perform
                       such as roving patrol, logistical operations, and perimeter fence
                      ese additional missions take away from the primary mission of the
                  {Annexes C-20, C~89)

            (S) The FPOC would request the Brigade external QRF to respond to
        incidents observed by tower or gate guards outside of the perimeter. (Annexes
        C-13, C-89)



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         (U) Standards

              (G) The Quick Reaction Force (QRF) must be a mobile force with
         appropriate fire power and support to deal with threats on the FOB. The QRF
         should be a dedicated force ready to deploy in moments. The roving patrol must
         be able to conduct frequent, random patrols of the FOB in order to gather
         information and react to threats.

         (U) Findings

          • (a) The dedicated internal QRF was required to perform non-QRF
         thereby detracting from their overall force protection mission. (A
         89, C-98)

         • (.S) The RAOC did not have a dedicated roving patrol.

         • (S) Brigade QRF was not always available to                      rne perimeter
            incidents outside the wire. The RAOC's int                    not respond outside
            the wire. (Annexes C-67, E-1)

        (U) Recommendations

            •   (S) The FPOC should mai                     y located internal QRF with a
                minimum of 6,soldiers and                  available 24-hours. Ideally, the
                QRF should have no      er duti

            •   (8) Establish proced             e internal QRF to respond to perimeter
                incidents just ou             e that don't warrant commitment of the
                brigade's exte

                                    ace to define unit ORF responsibilities.

                               • should have a dedicated roving patrol to augment the
                               ularly in the ASP.

                     stablish clearly defined coordination procedures between the RAOC
                     he Brigade external QRF.



          (8) The high density facilities at FOB Marez include the DFAC, the gym, the
       PX, and the MWR facility. (Annexes D-7)

          (8) Entrance guards had been implemented at high density areas when TFO
       had increased the threat level. At the time of the bombing, no intelligence had
       warranted an increase to the threat level. (Annexes C-13, F-4, G-4, G-5)
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             (~_ It was ~.Rr~cJice tc:i-h.?}£~_§11Dili!a,ry_oeadcount at the DFAC. One ~ 9s-not,
        ~~~~er, present.on the day of the bombing. By regulation, a military headcount
        serves two purposes: to count the number of personnel entering the DFAC for
        accounting purposes and to ensure that those who are dining are authorized.
        Providing a military headcount may have an ancillary force protection benefit that
        they present a deterrent to unauthorized personnel attempting to enter the
        facility. (Annexes C-2, C-5, C-24, C-26, C-43, C-45, C-46, L-1 through L-6)

            fS7 In October the Mayor's cell published a list of units responsible for
         providing headcount personnel. 1-24 Infantry was tasked to provide
         beginning the week of 19 December. They did not do so due to oper
         requirements and because they required a tasking from their par,
         (Annexes C-45, C-67, J-1, L-1)

         (U) Standards

        (U) FM 3.19.30 states that physical protective                      dural security
        measures, and terrorism counteraction measur                      ed are based on the
        threat. Measures should include increased securit           a high density areas when
        the threat warnings warrant such actions.

        (U) AR 190-50 provides that a Mis                       r Vulnerable Area (MEVA) list
        must be developed. A risk analys                     be completed for every MEVA.

        (U) AR 30-22, Chapter 3, es         ·shes /4. y dining facility policy. Paragraph 3-26
        provides that DFACs provid               to personnel entitled to subsist at
        government expense.                      nt system is in place to ensure the
        authorized personnel r                 s and to receive payment from those who
        must be charged.

        (U) The headc                  ponsible for accurately accounting for each individual
        admitted tot            g facility for a meal. Individuals must be identified to
        determin                 ility to subsist. In a combat zone, the person would be
        turned a               were deemed ineligible to eat at the DFAC.

                      30-22, paragraph 0-5, states that the headcount will not be
                     ditional duties such as checking attire, maintaining order, selling
                     , and so forth. The headcount's full attention must be devoted to
               tely accomplishing headcount duties.



       • (S) Units would typically take measures at high-density facilities to mitigate
       risks when the threat level warning increased. (Annexes C-43, F-4)


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          0 (S) At the time of the bombing, there was no specific intelligence that
          warranted an increase to the threat level and force protection posture. (Annexes
          C-13, F-4, G-4, G-5)

          • (S) More often than not, there was a soldier conducting a military heaQQQ.JJ.Oj at
          the Marez DFAC. There had been previous occasions when only a KBR
          provided civilian headcount was on duty. (Annexes C-5, C-18)

          • (S) On 21 December 2004, there was no militai:y headcount at the Ma
          DFAC. There had not been one there since 17 December 2004. (Ann
          C-5, C-26, C-45)

         • (S) While a headcount is not a substitute for a door guar
         protection posture, a headcount provides a deterrent effe
         personnel attempting to enter the facility. (Annex C-2)

         (U) Recommendations


             •   (S) Place guards at entry points to hi       occu       cy areas, such as the
                 OFAC, the gym and the MWR facil               enforce badge access limitations
                 on personnel attempting to n                   ilities.

             e   (G) Ensure a military head                 sent during meal times and only
                 allow authorized per    nel to        in the DFAC.

             e   (-G) Identify Mission             I Vulnerable Areas and mitigate against
                 potential attack                  e current threat conditions. Mitigate the
                 concentratio                nel in single location. Establish time lines for use
                                           , DFACs, or MWR facilities.



                              ly noted, while 248th RAOC had FP responsibility for FOB
                         d not have tasking authority to efficiently execute all the FP
                        s. They conducted biweekly Anti-terrorism/force protection (AT/FP)
                       discuss AT/FP on FOB Marez between tenant units and the RAOC.
                     onsistently attended these sessions indicating the value attributed to
                 But, as indicated previously, they were coordinating sessions with the
                 unable directly task units in the forum. (Annexes C-9, C-31, C-46, C-89,


           (S) The 248th RAOC FPO was not Level Two Anti-terrorism trained. This is a
        DoD requirement for installation FPOs and is directed by MNF-I FRAGO 517.
        This FRAGO was published after 248 th RAOC deployed to theater. As a result,
        the installation FPO was not afforded the opportunity to attend the training before
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          being deployed. A mobile training team was not employed to provide Level Two
          Anti-terrorism training in theater. (Annexes C-98, E-15, F-13)

         (U) Standards

              (£) MNF-I FRAGO 517 provides that an assessment of both the threat and
         the vulnerabilities of an installation must be conducted and a comprehensive
         must be developed. A risk analysis must be conducted to determine the priorit
                                                                                            p0
         for force protection assets. Proper training , education, and exercises mue ,
         implemented to ensure execution to standard and to validate the planri
         Force Protection Working Group meetings must be conducted. The i             i
         FPO must be Level II AT/FP trained . This training will give them the     c    n to
         establish a comprehensive force protection program. ( A n n , 0             I

         (U) Findings                                                    ~~

         • (S) 248th RAOC staff did not have Level Two~·n'Z,nnex C-98)

         • (S) The FOB Marez AT/FP program was imm                  but I provements have
         been and continue to be implemented. (Ann 0-6

         11 ES) Two external assessments (JSIV   D) had been completed which
         met the vulnerability assessment~utme . Annexes 0-6, 0-7)

         (U) Recommendations ~ '

             11   ES) Mobile training t ms    uld provide Level Two AT training to
                  those units alree;         r. Units designated to deploy to Iraq that will
                  have base prot •       sponsibilities shou ld deploy with Level two AT
                  trained st~ff. \ ~

            0     (S) I n a ~ wide vulnerability assessment followed by a detailed
                  c7 ~tion plan mitigate the identified threats.


                   ~      I 2004 Joint Staff lnte rated Vulnerabili      Assessment         ~
                  A JSIVA was conducted of FOB Marez's Anti-TE?rrorism posture on
            ~'flw--F

             July 2004. The unit in charge of force protection at the time of the
        assessment was the 296th BSB. The JSIVA team determined that the Marez
        AT/FP program was effective yet not entirely comprehensive . (Annex D-6) The
        JSIVA noted the following physical security vulnerabilities:

            •     (~ ) Lack of SOPs regarding guard towers and ECPs
            •     (~  ) Lack of range cards and clearly identified tower fields of fire .
                                                     ........
                                                     .).J



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                 0 ( ~ ) No standardized training and enforcement of proper procedures
                   for personnel and vehicle searches.
                 o ( ~ ) Lack of SOPs enforcement regarding access and badging.
                 0 ( ~ Although the Mobile Vehicle And Cargo Inspection System
                   (MVACIS) scanned all commercial vehicles at A Gate , explosive detection
                   equipment suitable for personnel searches (i.e. Vapor Tracers) was~ not
                   used at A or C gates. The MVACIS pad also needed improvement. 16
                 0 ( ~ ) The JSIVA also noted that the OFAC was vulnerable to a V
                   and needed additional stand off and barriers. (Annex 0 -6)

             (U) The 296th BSB conducted a RIP/TOA with the 248th RAOC ~ tr
          2004 . (Annexes C-46, C-98, F-2)                         d.                  V
          Findinos                                                        ''C.,
                 0    f-S) Guard towers and gate SOPs had been veO . ~ever, there is
                      still a lack of execution to standard at the a t~ ·(Annexes C-98,
                      C-99)

                 o (g) Personnel searches at C Gate i~ oved ,
                   (Annexes C-98, C-99, 0-7)         ~

              •      (~ Inconsistent access an~ ~OPs enforcement continued .
                     (Annexes C-98, C-99)     '~

             o f-S) The RAOC has oa       explosive detection equipment_for personnel
               searches and had u d th     . The devises were down for maintenance,
               however, durin: t , ' !   the bombing. The MVACIS pad had been
               improved~(A   ~ , C ,6, C-98)

             •       (G) FOB            itigated the VBIEO threat to the OFAC with concrete
                     barrie~        n   e entire OFAC. (Annexes 0-7)

             0       (4i.., ~      d explanation and transfer of a corrective action plan had not
                      ~       corp0rated during the 296th BSB and 248th RAOC RIP. (Annex C-
                     98

                         mendations.

                     (Gt Ensure that all AT/FP reports and plans are properly incorporated
                     during unit relief in place (RIP).




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              0   (G) Create and execute a detailed corrective action plan based on the
                  JSIVA report to mitigate vulnerabilities that still exist.

              •   (G) Enforce execution of guard tower and gate tasks to standard.



          H. (U) Explosives

                 fS) The CEXC report assessed that the type of explosive used •
          December OFAC bombing was a plastic explosive. A further note i
          indicated that the plastic explosive could have been either Plas
          (PE4-A) or Composition 4 (C4). A footnote in the CEXC r
          previous theft of C4 from FOB Marez. (Annex D-3)

                 fS) A CID report dated 16 October 2004 indi                    M183), along
          with various munitions, was stolen from a bunk                     mplex on FOB
          Marez on 13 October 2004. The FPS were i                         CID report,
          however, no conclusive evidence established t              as the perpetrators of this
          crime. (Annex D-5)

                (S) The CID report regarding th              arez DFAC bombing states that
          the component used was a plast                     obably PE-4. (Annex 0-4)

                (S) The method use                      explosives onto FOB Marez is not
         known. It is possible that it         have een carried or transported in a gate
         undetected, tossed over th             eter fencing, or walked in through breaches in
         the fencing in the ASP                 X C-13)

         Findings

                                      terial was stolen from a bunker in the ASP complex on
                                   ctober 2004. (Annex 05)

                          thod used to bring in explosives onto FOB Marez is not known. It is
                         it could have been carried in a gate undetected, tossed over the
                     encing, or~JmiLbreaches in the fencing in the ASP area.
                     13)        •

                                                IX. Badges

             (U) A critical element of force protection on any base is the implementation of
         a standard badge program. Ideally, the badge program should be easy for
         soldiers to understand and enforce and difficult for infiltrators to use to their
         advantage.


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             (Sj This section of the report examines the process of obtaining access on
         FOBs Marez and LSA Diamondback and the areas of concern that existed prior
         to 21 December 2004. This wil l include the security screening process, the
         badge system and badge control , accountability, and enforcement.

              (Sj FOBs Marez and LSA Diamondback are unique by nature of the


                                                                                                            e,
        personnel that co:.exist on these FOBs. On 21 December 2004, approximately e ,
        4600 personnel worked on FOB Marez and approximately 4200 personne l
        worked on [SA Diamondback. These personne l consisted of US military,
        civilians , other US Government agencies, Coalition partners, ING, IRA, FP
        personnel, TCNs, LN workers, Kellogg, Brown and Root (KBR) contraf / 1
        KBR contracted Brigada security forces. The badge reco rds indicate
        approximately 1667 local nationals rece ived FOB badges.17 (An~ ~          , M-
        2, H-7)                                                                        "~
            (.£) According to the SOP not all personnel who wor~ ~Bs are
        required to possess a FOB badge for access:                                 '(.I
                 • (..£) US Military, DoD civilians and contra                  , o r US government
                 agencies and Coalition military carry ~h ir sta                  rd government issued
                 identification card. (Annex E-2)

                 • (~ ISF badge requireme~      ~         oldiers were not required to
                 obtain FOB badges. Some        .Wvere issued FOB Marez no-escort
                 green badges, but did ot und     security screening . Other than ING
                 cadre, remaining ING     ot rece e FOB Marez badges. They are
                 allowed escorted ace s.     S undergo security screening and obtain a
                                          1
                 badge to access~      e.     Annexes E-2, C9, C11,C-32 , C-46 , C-69, C-
                 70)

                • {S) KB 0 -~o\!s CN subcontractors with KBR badges. 19 LN KBR
                local h ~ u i r e d to go through the security screening prior to
                receiv o     B badge. (Annexes C-43, C-46, E-2)


                   ~
                     reflects the accou nting given to us by thel                 {b)(3), {b)(6)             I
                by • own testimony, many of these badges were no longer 1n use by 21 December 2004. he
                that e has about 200 in his office under his control. to be destroyed either because they reflect
               es who are no longer employed on the FOB or because their badges have been replaced.
                  nt addition to FPS personnel are the Pesh Merga. By agreement with Barzani (PUK)
             Talaban i (KDP), they do not undergo security screening.
           s noted above, KBR provides KBR badges for their TCN subcontractor personnel; these personnel do
       not receive FOB Badges. KBR personnel and their subcontractors do not go through the ordinary screening
       process. The exception to this is locally employed personnel (LEP). This raises the question as to what
       level of "screening' KBR conducts with regard to third country national KBR workers and contractors. We
       found that most of the KBR subcontractors are third country nationals (Turkey, Phillipi no, Indian, etc) and
       they arrived en mass as subcontractors. KBR employees are allowed unescorted access to FOBs with KBR
       badges.
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                   o .{S) All LN employees and TCN 20 employees undergo security
                  screening and obtain a badge to access either FOB.   (Annexes C-42, C-
                  46, C-69, C-70, C-96, E-2)




                       ~     -
                aq E        loyment Company and the US Army entered a contract on 28 March 2004. NIEC was
                           act that covers management and payroll of local national employees at all FOBs in Northern
                         any is owned and run by twd                    !b}(6}             IThe NIEC is responsible for
          dve ing"          positions and obtaining local nationals wllling to work on the FOBs. The workers provided
                   skill and fell into five categories : unskilled labor (janitorial, manual), skilled labor (electrician,
                 , carpenter), manager (speaks Eng lish , manages up to 50 laborers), professional (interpreter,
       engine r, college educated), and supervisor (fluent in English and supervises managers.
       22
          Units needing workers would make a written request through the contracting office to the NIEC and outline
       the number of workers needed, the skills desired, the duration of tentative employment, and the military
       ;ioint of contact for the request.
        3
       ~ The screeners would ensure the standard local employment personnel screening sheet was filled out
       properly and conduct the screening. The LEP screening entailed working through an interpreter to gather
       various personal data from the applicant The screener had to use their screening skills and intuition to
       evaluate the veracity and demeanor of the applicant to determine if he or she was a potential security risk or
       a criminal threat to Coalition forces.
                                                                37
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            (8) On FOB Marez, two tactical HUMIT teams (THT) had been conducting
        LEP security screenings since mid-October 2004. 24 These two THTs are
        Asigned to the      I                            (b)(1)1.4a
      (b)~-ifl a direct support role to conduct coooter-intelligence exploitation missions
        related toJ.~Jr:i_terrogations of sources 911~cte!aio-~es. Though it was not their
        primary mission, given their training in counter-intelligence and inter o ation
        conductin LEP securi screenin s was within their ex ertise .
                                                              .4a
                                                              -96)

             (8) The THTs did not have an ideal hand off with the unit who con
        security screenings for FOB Marez prior to them. 25 The THTs rec •
        copies of screening records and used them as a start point
        on the list and then to build a new LEP database. It is poss               B
        employees received badges without being previously sere                  badge
        files did not contain a notation that a security screenin            ompleted on
        the badge holder. This was either because nos                      nducted or
        because of poor record keeping. (Annexes C-

             (8) The THTs initially entered the informa • n in     stand alone BATS
         system, using an older version of BATS.         use they were using an old
         software version of BATS, they were un            heck the information they
         entered against the national BAT                   eTHTs received the new
         hardware, software, and SlPR ace                 to enter the BATS system in mid-
       • December, but they did not                   le password. (Annexes C-42, C-71,
         C-73, C92, C-96)

           (8) At the end of Nov                    , 1-24 IN directed the THTs to cease security
        screenings as it was i                  elligence operations. The THTs continued to
        conduct some LEP                     out of necessity because they did not know who
        would screen on                    y did not. (Annexes C96, F-17)

            (S) The r          ent to conduct LEP screenings, however, has been greatly
        reduced                 pool of local Iraqi workers willing to work on the FOB
        drop            s Ically during and after Ramadan. The THTs have recently all
        but             P screenings except for an occasional screening for employees at
        t           er units they support. {Annex C-96)

                    ound that the LEP screening responsibility on LSA Diamondback
                continuity as well. 26 In the past, security screenings may have been

       24
          There are four THTs located on FOB Marez. Only THT 609 and THT 611 conduct LEP screenings. THT
       611 has three people on the team; only two members of 611 conducted LEP screenings. THT 609 has four
       people on the team; only two conducted LEP screenings.
       25 rd
          3 Stryker Brigade, 2nd Infantry Division appears to have been the unit who had previous screening
       responsibility.
       26
          There was a lapse in LEP security screening during the summer of 2004 when CACI operations were
       suspended when CACI was named in the Abu Gharib detainee abuse investigation.
                                                         38
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         conducted by untrained personnel or not conducted at all. The THT 700, 310th
         Ml conducted screenings for a short time after the 116th RAOC left in mid-
         November 2004 and until CACI took over the LEP security screening mission full-
         time for LSA Diamondback. (Annexes C-19, C-69, C-73, C-86, C-96)

             (-S) The HST on LSA Diamondback had been operating without any .
         ~om munications egui~_nloLcomputer. conne.ctions.,ln..au.iiolafed}Qg1Ji911pn
         LSA. The HST possessed BATS hardware and software but no SIPR
         connectivity to allow them the capability to connect to the national BATS s
         HST personnel stated that each evening they went to the CID office wh
         had access to a SIPR connection that allowed them to place the LEP
         information into the BATS database. (Annex C-1)

             (S) Records indicate that not all local employees were
         This was particularly an issue prior to September. It was
         RAOC and the THTs/HST were working hard to correct.
         security screenings, either screenings were not          I                          ucted or proper
         records and tracking systems had not been im                                      nnexes C-9, C-11,
         C-32, C-69, C-86, C-96)

            (S) We identified one inherent problem i         e secu ty screening process, not
        attributable to the screeners. Iraqi IDs               asy to counterfeit. Most Iraqi
        IDs contain Arabic writing and ma                       ictures. Given the lack of
        infrastructure in Iraq, screeners h.                ive wa to determine ifthepfil§.9.n
        who is prnsentiogJ1n Ira i I •                   ~ per~qn ll'J_~gse nam~-ctppear§...on
        that ID. This problem aHo.w          .JtLw1 a.c.Qynterfeit ID or PP.§§~§§log.,~
        someonE!.el.se's ID t9 9.rea,           .entify.witluelatht.e.ease. 28 (Annexes C-71,
        C-92, C-96)

        (U) Standards

                                      693, dated 27 April 2004, established a common
                                 eening standard with regards to non-coalition personnel. It
                                  als who are granted access to coalition bases throughout
                           r of operations must be screened in accordance with CJTF-7
                           ening SOP established as of 25 April 2004. It directed that
                        s performing LEP screening to collect and report the screening
                       eir higher commands and use the Biometrics Automated Toolset Set
                      og and track entries. (Annex E-5)


       27
          In January 2005, the HST received the current FPS roster and HST identified several FPS personnel
       whose records show no indication that they had been screened. In some cases. FPS personnel had not
       been badged.
       28
          There is little that can be done about this, however, one way to mitigate this situation is to ensure the
       BATS system is functional and all information is systematically entered in the BATS database. This way, at
       a minimum, we know if the applicant has been entered in common database under another name through a
       fingerprint check.
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           ,/'¥ (Sj MNF-l/C2X published an Iraqi Theater of Operations Personnel Screening
       /    SOP, dated 9 September 2004. This SOP reiterated the requirement to screen
            individuals granted access to Coalition bases and to provide a baseline
            screening standard for all non-coalition personnel. (Annex E-7) In pertinent part,
            it provided that screeners will:

                   ° Create a record of the screening applicant's interview
                   0 Input that information into BATS
                   o Notify agencies of derogatory information
                   o Maintain a database of screenings
                   o Identify and report security shortfalls exposed during the in
                     the physical security POC
                   0 Provide perishable intelligence information to th

               fS1 In October 2004, TFO published an implementin                 rsonnel
            screening, badging and counter-intelligence. The                  SOP was to
            detail and integrate a standard badge program                    otection and
            Counter-intelligence Program across the MNB-                ccupation and to
            control and manage access to military installation      nex E-8)

              (St FOB Marez and LSA Diamondback      operating, in part, under the old
           badge and access policy in Dece             hey were moving towards
           implementing the new badge sys            bombing occurred. At the time of
           this report, TFO badge and acces         being implemented on both FOBs
           and all badges were being r aced.    nexes C-69, C-70, C-86)

           (U) Findings

              o (S) The security         g process for locally employed personnel (LEPs)
           was immature. It              identified for improvement by 248th RAOC and
           they had taken          s o do so. In December 2004, LEP security screenings
           were condu              ed personnel at FOB Marez and LSA Diamondback.
           (Annexes

                           and the HST maintained databases on their respective FOBs of
                          screening information, however, neither team could directly access
                       I BATS database. (Annexes C-1, C-19, C-42, C-71, L-7 through L-


                (St Not all LN employees and not all FPS with badges were screened.
                exes C-42, C-86. C-96)

           (U) Recommendations




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             0    (St Recom mend that all LNs, TCNs and FPS on both FOB Marez and LSA
                  Diamondback be immediately re-screened to minimize existing security
                  risk.29




           ~) The RAO      (b)(3),           he approval authority fo r unaccompanied



                       e
       access badges on FOB_,"_._ His determin ation was based on a request from
       a sponsoring unit~ o            and a satisfactory LEP security screening . I found
       a disproportionat     i number of unaccompanied access badges issued on
       FOB Marez.                  badges, 924 were green (no escort) badges, 740 were
       yellow bal     and were red badges . It appeared that commanders might have
       requeste na          anied access badges before an employee reasonably
       de   o ~ reliability or trustworthiness. Th is risk is compounded by the ?
                                                                                       1
       im     re c~      screenin roe ss. (Annexes C-46, C-69, C-70, E-2, H-7) -

                         appeared to have control of badged employees that they were
                 ng n any given day. I am not as comfortable that the Marez Mayor's cell
                 ntrol. 30 There were a number of badges at A Gate left by units that had

           s of the writing of this report, this is being done.
      30
        Two weeks after the bombing, FOB Marez Mayor Cell had two badged employees who signed in on 19
      and 21 December (1 39 ands 122, respectively) and did not sign out It took them nearly a week to account
      for them, although not to my satisfaction. In one case, I was assured that they knew the identify of the
      badge holder (# 122) , however, the pay records did not corroborate the statements of the Mayor's cell. The
      Mayor's cell paid the employee for 23 days, however, the sign in log indicated that he only worked for the
      Mayor's cell for 9 days in December. LSA Diamondback had six badged em ployees who signed in on 7 Jan;
                                                           41

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          redeployed over three months ago. Many of those badges required no escort.
          These_affo.rdedJbe possibilitvJhat a LN _could come to the gate, get his green
          access badge and enter the FOB when a unit is not be expecting him. (Annexes
          C-16: c :44, C--45,- C-65 , C-70) ___ ·- • • -·

            (&) The soldiers at A Gate executed a standard procedure each night by
         notifying the FPOC of those badges that had not been turned in, indicating that
         the employee was still on base. The FPOC would call the sponsoring unit for
                                                                                                                      e,
         accountability. There was no follow-up by the FPOC that the badged empl~
         eventually departed the FOB. This was a good procedure but the proc~~
         short in that there was no closure at the FPOC. (Annexes C-16, C-45, -
                                                                                                                 J
            (g ) Base SOP required a monthly PAI to reconcile badg~                          we ,          es.
         These were not conduced and as a result, the Mayor's cell                                  ai ain an
         accurate roster of badges. (Annexes C-69, C-70, E-2)



         certain badged personnel could travel between F
                                                                                 _x~
              (S) There was a lack of common understandint:Jl!r!liO ("1; cess privileges
         were associated with various badges. The conf                  ram not knowing if
                                                                 o w ther certain badges
         entitled the holder to enter the DFAC. (Annex s C-       C-14, C-20, C-9 1)

             (8) Badge enforcement on FOB Mare                          • consistent. It was not
                                                                                                          31
         Personnel possessing yellow badg                              n walking without escorts.
         (Annexes C-2 , C-14, C-16, C Q C-9
                                          ,

         (U) Standards

           (S) In October 2004,~u 1shed an SOP on personnel screening, badging
        and counter-intell~ h urpose of this SOP was to detail and integrate a
        standard badge p r       the Force Protection and Counter-intelli ence
        Program aero~         -NW area of occupation and to con trol and manage
        access to milotallations. (Annex E-8)

   (S) F:            4.
               ~z and LSA Diamondback were operating, in part, under the old
 bad    an~       ss policy in December 2004 but they were moving towards
 •        n • g the new badge system when the bombing occurred. At the time of
             TFO badge and access policy was being impfemented on both FOBs
~       ba es were being replaced. (Annexes C-69, C-70)




        did not sign out that night - and the BDOC had not identified this as an issue - had not accounted for them
                                                                                                     111
        by 0730 on 8 January. One of them accessed the gate with a 116111 RAOC badge -The 11 6 RAOC
        departed LSA Diamondback in late November.
        31
           In one case, a soldier told us that twice he witnessed TCN KBR personnel enter his trailer without an
        escort in contravention to policy guidance.
                                                              42
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                   (S) The badge policy being used on FOB Marez during the December 2004
                time frame was the FOB Marez Access SOP policy dated 26 August 2004. This
                SOP was issued by the Commander, 296 th BSB . (Annex E-2)

                    ES) Pursuant to the FOB Marez access SOP, all LNs and TCNs were to obtain
                an access badge to enter FOB Marez. "A LN or TCN wishing to access FOB
                Marez needed to obtain one of three badges - a green badge, a yellow badge ,    oV
                                                                                                 -r>.
                                                                                           ,gp
                a red badge. (Annex E-2)

                    (S) A green badge was to be issued only by the base commandert   o ll
                local or fo reign nationals who work on Marez and who's sponsoring u r      e
                a green badge with good reason for the person to possess a gret  n t .
                green badge allows a LN or TCN to escort other LNs or TC     w              or
                yellow badges. The SOP states that "contractor or labor sup i       i harge of
                the special projects will be issued Green badges to ensure           ull access
                in order to complete their task." (Annex E-2)

                    (~ A yellow badge is issued on the approva f aliilliillii!
                LNs who work on FOB Marez upon the showing t          ere I good reason that
                they require access to certain areas unesco~ . Th, adge allows for
                unescorted access around the battalion are t does not allow unescorted
                access to all areas of FOB Marez. It al"       with it no escort privileges.
                (Annex E-2)                         ~    v
                   (S) A red badge with pict     wast      issued to LN or TCN who works on
               FOB Marez. Holders of a red        ge mu be escorted at all times by a US
               Soldier or a green badge hol r.       e SOP stated no limit as to how many red-
               badged personnel a milit          o r a green badge could escort. A red badge
               without a picture was to        vI ed by request for small groups of workers (less
               than 10) working ~~-~~ e projects that are limited to five days or less. A
               military escort is r~     a all times during the work. (Annex E-2)

                  (G) IAW U~ z badge policy, no badges were to leave FOB Marez for any
               reason . (~ ~

                  (R ~ requires a IT)onthly PAI to reconcile badges with employees. All
               u •   •    al or foreign nationals working for their battalion should conduct a
    •                g  l within the first week of every month to ensure all badges are
1
                  re .  e purpose of the PAI is also designed to collect names of personnel
                ri ave been blacklisted, quit, or fired. A hard copy of all updates was to be

               (Annexes C-16, C-69 , 0 -11, E-2)                                               •

                 (S) The badge policy being used on LSA Diamondback during December
              was contained in the LSA Diamondback Access Standard Operating Procedure
              (SOP) Revision 1, dated 1 July 2004, signed by the commander, 116th RAOC .

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         As stated previously, like FOB Marez, LSA Diamondback had not yet fully
         implemented the new TFO badge policy promulgated in October 2004. (Annex
         E-18)

             ~ LSA Diamondback Access SOP provided that all local or foreign
         nationals, must obtain an access badge to enter the LSA Diamondback. A LN or
         TCN wishing to access LSA Diamondback needed to obtain one of six colored
         badges of varying access privileges. 32 (Annex E-18)

         (U) Findings

             0    (G) FOB Marez requires badges to obtain access. There w
                  place to issue and control badges. FOB Marez SOP
                  2004 was thorough. Process and procedures were
                  disciplined execution of badge accountability and
                  responsibilities. (Annex E-2)

             •   (g) Neither FOB Marez nor LSA Diamon
                 October TFO SOP as of December 2004.

             o   (~ A disproportionate number of gre                   badges were issued to LN and
                 TCN thereby allowing them unes                           ess to FOB Marez. (Annex H-
                 7)

            o    ES) There~ was a lack~.                                    badged employee
                 re.sponsibilityJ"rom_                                       uniiRleLIOA. (Annexes
                 C-69, C-70)

            o    (g) There was n                 mon understanding of the access privileges
                 associated w                   . (Annexes C-2, C-69, C-70, C-91)

                                       of badges was not consistently enforced, escort duty
                                 s performed appropriately. Access to some facilities was
                                  because of a misunderstanding as to what access a badge
                            as entitled. (Annexes C-2, C-16, C-91)

                       he Mayor's office was not conducting PAI with tenant units of badged
                       oyees monthly per FOB Marez SOP. (Annexes C-16, C-69)


          The 1 July 2004 Diamondback Access SOP had l.\vo exceptions to badge requirements. Medical
       emergencies which required treatment to prevent loss of life, limb or eyesight were not required to obtain a1
       access badge, however, the medical CSH was to inform the RAOC and request a visitor badge as soon as
       possible. The second exception was convoy drivers who were hired         a contractor and have no security
       screen[ng. They received a convoy pass at the gate, were not ,1nnr,7 ".r1 to leave      immediate area of
       their vehicle, and must remain under escort at all times. As long as they were part of a convoy, under the
       direct supervision of a convoy escort, and have no other access to LSA Diamondback, they were not
       required to have badges.
                                                              44

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            0   fS) The bomber could have obtained access to the base by having an
                issued access badge.

        (U) Recommendations

            0   (U) Implement the October 2004 TFO badging policy and procedure to
                ensure strict accountability and a common standard between TFO bases

            0   (U) Conduct PAI of badged employees monthly per FOB Marez SO
                essential during unit transition to account for all badges issued t
                employees of the outgoing unit and to properly transfer respon
                badged employees from one unit to the next. Ensure all u
                badge procedure during RIP/TOA and handover all e
                replacing them.

            •   fS) Badge office gain 100% badge accountab· •
                employees are screened and evidence of

            o   (G) Provide badge awareness training to e
                the access limits placed on various ba e hol

            •   fG1 Place a BATS system at                Ps to mitigate ID fraud by
                verifying through fingerprint




           ~) ISF accountabilit                achieve. Procedures were in place to
       reliably account for all I         nnel on FOB Marez on 21 December 2004. It is
       less true for ISF on I            OL. The physical evidence at the scene of the
       explosion indicat          he suicide bomber was probably wearing a chocolate
       chip IRA unif              xes D-3, N-2, N-3)

                              ree categories of ISF on FOB Marez on 21 December 2004:
                          PS. All three groups had access to the Marez DFAC and
                          measures were applied to each group. (Annex C-9)



               The 11 th IRA Battalion maintained control and accountability of its
        a a on with oversight by a US Advisor Support Team (AST) from the 98th
       Training Support Division. The AST physically lives and works within the IRA
       compound on the FOB. The IRA compound is set within the cantonment area of
       FOB Marez, directly across from the DFAC. It is bounded by HESCO Bastion
       Barriers to isolate it from the base. Access is controlled through one central gate
       secured by IRA soldiers. (Annexes C-5, C-21, C22, C-51, C-60, K-4, M-1, N-4)
                                                 45
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                 (S.) It was the responsibility of the AST to account for all of the IRA soldiers
             accompanying them to the DFAC. The IRA were marched to the concrete blast
             barriers in front of the DFAC and moved single file to the hand-washing station
             where they entered the DFAC. When the meal was complete and the IRA
             personnel were marched back to their area, the AST ensured that any IRA
             stragglers, (primarily IRA senior personnel), were directed back to the IRA
             compound. 33 (Annexes C-5, C-18, C21, C-51, C-60, C-72)

                 ~) The IRA were rotated on a set schedule in 20-30 minute interval
             ensure all soldiers were afforded an opportunity to eat, to ensure ace
             and to limit the number of IRA soldiers in the DFAC at any given
             there were only two shifts, 1100 and 1120. The second shi
             shortly before the blast under the control of the AST. (An
             C-22, C-51, C-60, C-61)

            (&) The 11 th Battalion was recently assigned                                 N Battalion. The
         1-5 IN Battalion has established a liaison elem                                 Battalion and the
         AST. This adds another level of physical contro                               assurance of day-to-
         day accountability and supervision. (Annexes -72,

              fS1 A complication of IRA accounta • •       e make-up of this battalion. It
         was recently assembled on short                     ists of soldiers from the 10 th ,
                      th
         11th and 12 IRA Battalions and f                rigade and 8th Division HQs. On
         21 December, the BN had 1 AWO               1ers, making physical accountability of
         all assigned members diffic              . (Annex C-51)

         (S-) On 21 December, th                       accou-Ated as follows (Annexes K-1, C-51):

                 Authorize                    7
                 Assign                     7
                 Leav                 -194
                                   thers - 48 (10 in Al Kasik and 38 in Hammam al Alil}




                     n taking IRA accountability of those present for duty following the
                     was determined that 4 IRA were missing from their ranks. It was later
               ined, however, that 3 were KIA and 1 was WIA. 34 All members of the 11 th
              attalion who were present for duty on 21 December were accounted for on
        that day after the bombing. (Annexes K-1, C-51}
        33
          IRA uniform for meals normally included IBA and helmet Sergeants Majors and Offieers had the
       discretion to         wearing their IBA and helmets to the DFAC. The IRA soidiers typically removed their
       IBA and Helmets when sitting to dine.
       34
          Accountability of IRA soldiers who had previously gone AWOL is not possible because the AWOL soldiers
       may or may not return. If an IRA Soldier remains AWOL for 30 days, he is dropped from the rolls (DFR).
                                                           46

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        B. (U) Iraqi National Guard (ING)

                   (-S) There are two different ING compounds.

           (8) 106th BN HQ: The ING BN HQ is located on the west-northwest portion of
        LSA Diamondback. A pedestrian gate provided access between the 106th
        compound and LSA Diamondback. Prior to 21 December tbat gate remained
        open all the time. Someone who gained access to the ING compound coul
        easily have proceeded through that pedestrian gate and had near comp
        access to LSA Diamondback. From Diamondback, they could procee
        Marez through gate C. This would require an unaccompanied ace
        an escort. (Annexes C-20, C-27, C-56, C-89, C-90, M-1)

           (8) I do not believe that this was proximate to the Marez                ent; but it
       represents a level of openness that may not have been n                  nd provided
       an opportunity to be exploited. I recommend that                      n secured and
       that it be opened only as required. If opened, it                    ed to facilitate
       controlled access by badging.

           (-S) A CO: A CO, 106th ING Battalion is p  ically located in a separate
       compound in the ASP south of FOB Mar             compound is well situated to
       provide separation of the ING from                 convenient enough for
       interaction. There are no physical              preclude unwarranted access,
       though its physical location   kes t          ely and easily detectable.
       (Annexes C-5, M-1, N-4)

           S Twenty-five US sol              e 1-24th INF BN, led by    I     (bl(3l        I
          (b)(6l   s the senior I         trainer, provide oversight of the A Co, 106th
       ING Battalion and its           basic training academy. The primary trainers for
       the ING trainees             re members from A Company, 106th ING BN. The
       basic training u           under physical control all of the time. (Annexes C-33,
       C-34, C-57)

                              ainees eat breakfast and dinner in the DFAC, but not lunch.
                            lunch there on 21 December. The A CO cadre is supposed to
                        their own compound but they are not physically restricted. Given a
                       , an A CO cadre member/leader could have eaten lunch in the
                        December. According to the company commander and validated by
                        , they did not. (Annex C-57)
               ,------'


         (S) Accountability for ING on FOB Marez on 21 December 2004 as follows
      (Annex C-33, K-2):

               88 -A Co,106th ING BN


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                   19 - ING Scouts working directly with USSF35
                   56 - ING trainees 36
                   48 - Vacation
                   7 - Hospitalized
                   14-AWOL
                   2 - Sickcall

            (S)
             th
                  I
                  (b)(3), (b)(6)     I I
                                 and (b)(3), (b)(6) !provided the accountabili of the A Co
         106 ING members that were not on the ran e with (b)(3), (b)(6)        n 21
         December. They received it from           (b)(6)  the commander, A Co., 1
         Based on this information, it was determined that all 106th ING BN s
         were present for duty on 21 December 2004 were accounted for a
         (Annexes C-33, C-57, K-2)

            (~ One member of A Co, 106th ING that was working
         was killed in the blast. His body was released back to hi
         determined that he was not in position to have b
         104, D-3).

           (S) As with the other lSF, it is not possibl to po     ely account for those ING
         members listed as AWOL or on leave prior         e 21 5 of December. (Annex K-2)

         C. (U) Facilities Protection Serv·

            (S) FPS personnel have                  n FOB Marez for over a year
         providing FOB security in va     capa ies. Prior to 21 December, the FPS had
         been working in the guard t       • the ASP. On 21 December FPS were
         working on A Gate and               OB Marez and in the pedestrian gate at LSA
         Diamondback. 37 (An          - , C-10, C11, C-14, C-88)

            (S) The FPS                   compound located on LSA Diamondback, on the
        south-west e                    sul Army Airfield. The compound is separatea
        geographic                  FOB Marez, however, there were no restrictions placed upon
        the area                    e FPS were allowed to travel. (Annexes C-14, M-1)

                           S enter FOB Marez from LSA Diamondback through C gate. FPS
                        orted in pick-up trucks and typically not searched upon entering FOB
                       rsonnel manning both Charlie Gate on FOB Marez and West Gate on
                        ndback did not routinely require the FPS to present ID cards when

                NG Scouts were accounted for b;i (b)~) ~swell. He indicated that 19 of 19 were present on 21
        December. This was independent! corroborate by t e USSF ODA member who works with them.
        36
           Four ING cadr w r •          3 b 6 at the range on the 21 December. All 56 ING trainees were
        accounted for by b 3 , b 6
        37
           New personnel have been brought in to provide FOB security as of 28 December 2004. The majority of
        new FPS forces are Pesh Merga. The group consists of Kurdish Democratic Part KDP) and People's
        Union of Kurdistan (PUK). The remaining number of Arab FPS is very low. b) 3, (b) 6 stimated the total
        FPS work pool is about 100 personnel, however without records written in ng Is , it Is difficult to ascertain
        an accurate accounting.
                                                               48
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         passing. The FPS were allowed to enter the DFACs on both FOBS, unescorted.
         (Annexes C-9, C-11, C-14)

               ($) (b)(3l, (b)(6) 248 th RAOC, was the                     responsible for daily
          FPS accountin . H de ended on the                 (b)(3), (b)(6)  or daily FPS
         accountability. (b)(3l, (b)(6) would use this information to compile the FPS pay
         roster for submission to TFO. We attempted to ascertain the total number of
         FPS personnel on FOB Marez on 21 December. (b)(3), (b)(6) estimated that
         between 15-19 FPS personnel were present. The ocuments b 3, b a
         provided to us during this investigation were given to him by th          (b
       (~)(3), (bl(§l The documents were incomplete Arabic personnel and pay r
         do not afford accurate accountability of who was present and whe
         9, C10, C11, K-3)

             (S) As with all of the ISF, accountability of FPS was a                ccurrence.
         FPS experienced considerable turnover due to a hi h A                    nd by the
         increased threats and intimidation by the AIF (An                     , C11)

           (S) It is possible that the bomber could have                S member who had
        recently quit or gone AWOL prior to 21 Oece ber a           whom the RAOC was no
        longer expecting for duty.

           (-S) Physical control of the ISF •                y mitigating factors to the risk
        associated with their presence on                 hysical control is exercised through
        separation into discreet com unds              OB and by supervision by CF.
        There were more reliable ph        I con    s of the IRA and ING than of the FPS.
        (Annexes C-5, C-9, C10, C             , C-21, C-33, C-34, C-56, C-51, C-60)

        (U) Findings

           • (-S) FPS w              ed into the security force at FOB Marez and LSA
        Diamondbac                 ad access to the base with an FPS ID Card. (Annexes
        C-9, C11)

                         10n unit liaison teams and ASTs executed physical control of
                         nnel through their presence. Accountability and physical control of
                     tempted by one senior NCO. This was inadequate. (Annexes C-5, C-
                     18, C-21, C-33, C-51, C-60)

               S) Large numbers of AWOL soldiers and turbulent leave practices make
               ntability of the ISF difficult to achieve. At best, accountability is day to day.
       It is primarily the responsibility of the ISF chain of command to achieve
       accountability; ISF are supervised by ASTs and liaison teams. (Annexes C-5, C-
       9, C-11, C-18, C-51)



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                 (&) ISF were afforded access to the DFAC alongside Coalition forces as a
                  0

           part of their integration. (Annexes C-5, C-9, C-18, C-21, C-22, C-31, C-47, C-56,
           C-51, C-60,)

               0(&) The bomber could have obtained access to FOB Marez as a member of
           !SF. Based on the evidence, he obtained access to the DFAC by wearing an
           ING/IRA uniform. 38 (Annexes 0-3, N-1, N-3)



           (U) Recommendations

              o       ESt Continue to oversee ISF accountability procedure
              o       EG) Establish and enforce clear MNC-1 and MNF-1
                      addresses ISF access to Coalition bases an

              "       (Gt Establish unit partnerships with FPS t
                      of that responsibility.

              o       (&) AST teams and embedded traine       idge the gap between the Iraqi
                      and Coalition Forces and pr                 insight to the day-to day
                      operations, accountability, a          ted items. Increase the emphasis
                      on ASTs and embedded trai             ment to further develop the ISF
                      and provide direct Coa     n Fore versight.




      35
           IRA Uniforms are readily available on the open market for purchase.
                                                              50
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